                               UNITED STATES BANKRUPTCY COURT
                                     DISTRICT OF KANSAS
                                       WICHITA DIVISION

       In re: WB SERVICES, LLC                                      §   Case No. 16-10759
                                                                    §
                                                                    §
   Debtor(s)                                                        §
         CHAPTER 7 TRUSTEE'S FINAL ACCOUNT AND DISTRIBUTION
  REPORT CERTIFICATION THAT THE ESTATE HAS BEEN FULLY ADMINISTERED
                 AND APPLICATION TO BE DISCHARGED (TDR)

         Carl B. Davis, chapter 7 trustee, submits this Final Account,
Certification that the Estate has been Fully Administered and Application to be Discharged.

         1) All funds on hand have been distributed in accordance with the Trustee's Final Report
and, if applicable, any order of the Court modifying the Final Report. The case is fully
administered and all assets and funds which have come under the trustee's control in this case
have been properly accounted for as provided by law. The trustee hereby requests to be
discharged from further duties as a trustee.

        2) A summary of assets abandoned, assets exempt, total distributions to claimants, claims
discharged without payment, and expenses of administration is provided below:


 Assets Abandoned: $9,410,441.96                      Assets Exempt: N/A
 (without deducting any secured claims)
 Total Distribution to Claimants:$822,576.57         Claims Discharged
                                                     Without Payment: N/A

 Total Expenses of Administration:$305,886.33


         3) Total gross receipts of $ 1,128,462.90 (see Exhibit 1 ), minus funds paid to the debtor
 and third parties of $       0.00    (see Exhibit 2 ), yielded net receipts of $1,128,462.90
from the liquidation of the property of the estate, which was distributed as follows:




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                                        CLAIMS              CLAIMS             CLAIMS             CLAIMS
                                      SCHEDULED            ASSERTED           ALLOWED              PAID


 SECURED CLAIMS
 (from Exhibit 3)                      $16,142,103.29      $3,522,386.91      $2,582,150.24        $59,763.33

 PRIORITY CLAIMS:
    CHAPTER 7 ADMIN. FEES
    AND CHARGES
    (from Exhibit 4 )                            0.00         137,171.19        305,886.33         305,886.33

   PRIOR CHAPTER
   ADMIN. FEES AND
   CHARGES (fromExhibit 5 )                      0.00               0.00               0.00                 0.00
   PRIORITY UNSECURED
   CLAIMS (from Exhibit 6 )              2,181,117.34       1,394,115.12       1,274,684.21        762,813.24
 GENERAL UNSECURED
 CLAIMS (fromExhibit 7)                  9,390,247.83      49,295,673.98      46,280,015.25                 0.00

                                       $27,713,468.46     $54,349,347.20     $50,442,736.03      $1,128,462.90
 TOTAL DISBURSEMENTS

          4) This case was originally filed under Chapter 7 on April 28, 2016.
  The case was pending for 74 months.

          5) All estate bank statements, deposit slips, and canceled checks have been submitted to
  the United States Trustee.

           6) An individual estate property record and report showing the final accounting of the
  assets of the estate is attached as Exhibit 8 . The cash receipts and disbursements records for
  each estate bank account, showing the final accounting of the receipts and disbursements of
  estate funds is attached as Exhibit 9 .

          Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
  foregoing report is true and correct.

  Dated: 06/20/2022                 By: /s/Carl B. Davis
                                        Trustee, Bar No.: 13705


  STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
  Act exemption 5 C.F.R. §1320.4(a)(2) applies.




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                                                  EXHIBITS TO
                                                FINAL ACCOUNT



EXHIBIT 1 GROSS RECEIPTS

                                                                 UNIFORM                    $ AMOUNT
        DESCRIPTION
                                                                TRAN. CODE 1                RECEIVED
  Simmons First-Operating Account x5872                         1129-000                      35,813.71

  2015 Chevy Silverado VIN 1GC1KUE82FF161766.                   1129-000                      36,500.00

  2015 Chevy Silverado VIN 1GC1KUE88FF162002                    1129-000                      32,000.00

  2015 Chevy Silverado VIN 1GC1KUE84FF160733                    1129-000                      37,000.00

  2015 Kia Optima VIN XXGM4A70FG353805                          1129-000                       8,800.00

  2015 Kia Optima VIN XXGM4A78FG357133                          1129-000                       7,400.00

  2009 GMC Sierra VIN 3GT3K33M99G241466                         1129-000                       8,250.00

  2009 GMC Sierra VIN 3GT3K33M59G257373                         1129-000                      12,900.00

  2007 Denali XL VIN 1GKFK66897J398242                          1129-000                       5,500.00

  2011 GMC Sierra VIN 1GT12ZCG9BF138969                         1129-000                      10,000.00

  2004 Ford F250 Super Duty VIN 3FTNF20L54MA13744               1129-000                       2,500.00

  2001 GMC Sierra 2500 HD VIN 1GTHC29U71E224060                 1129-000                       2,700.00

  2012 GMC Sierra Denali VIN 3GTP2XE27CG138579                  1129-000                      19,100.00

  2013 Acura MDX VIN 2HNYD2H37DH511590                          1129-000                      12,500.00

  Machinery, fixtures and equipment (excluding ...              1129-000                      22,450.00

  Preference- Born, Inc.                                        1142-000                      40,000.00

  Preference- Brand Electric, Inc.                              1141-000                      19,000.00

  Preference- Campbell Concrete Construction, LLC               1141-000                      12,943.25

  Preference- D & K Tanks                                       1141-000                      20,000.00

  Preference- Dean E. Norris, Inc.                              1141-000                       7,434.33

  Preference- Farris Engineering                                1141-000                      40,000.00

  Preference- First Insurance Funding Corp                      1141-000                        484.82

  Preference- Gilbert Industries, Inc.                          1141-000                      62,000.00

  Preference- HABCO, Inc.                                       1141-000                       5,000.00

  Preference- HAJOCA                                            1141-000                       6,000.00

  Preference- Integro Energy Group, Inc.                        1141-000                     145,000.00



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     Preference- Interstates Construction Srvcs                                         1141-000                            87,531.72

     Preference- Kenny Pipe & Supply, Inc.                                              1141-000                            75,000.00

     Preference- Sulzer Pumps Solutions, Inc.                                           1141-000                            40,500.00

     Preference- Tranter, Inc.                                                          1141-000                           115,000.00

     Preference- Westar Energy                                                          1141-000                              8,669.43

     Preference- Best Supply                                                            1241-000                              1,000.00

     Preference-Control Application & Maintenance Inc                                   1241-000                              2,500.00

     Preference- Coyle Supply, Inc.                                                     1241-000                              5,000.00

     Preference- Hughes Machinery (FCX                                                  1241-000                              5,000.00

     Preference- Kaiser Electric                                                        1241-000                            14,000.00

     Preference- Kice Industries, Inc.                                                  1241-000                              5,000.00

     Preference- Lee Mathews Equipment / Cogent                                         1241-000                              6,790.00

     Preference- Matheson / Tri-Gas, Inc.                                               1241-000                            10,000.00

     Preference- Mid-Tec, Inc.                                                          1241-000                            55,578.96

     Preference- Myers-Aubrey Company                                                   1241-000                            10,159.44

     Preference- Professional Engineering Consultants                                   1241-000                            20,000.00

     Preference- RIX Industries                                                         1241-000                            10,000.00

     Preference- Swanson Flo                                                            1241-000                            11,820.00

     Preference- Worldwide Pipe & Supply, Inc.                                          1241-000                              7,946.06

     Petty cash                                                                         1229-000                                21.80

     Reimbursement- EMC Insurance Companies                                             1249-000                               500.00

     Scrap metal recycling                                                              1290-000                               326.64

     Preference- Steel Fabrications, Inc.                                               1241-000                               940.62

     Preference-Nebraska Crane, Inc.                                                    1241-000                              2,000.00

     IFBOA-Good Experience Return                                                       1290-000                               184.04

     Preference-Wheeler Services                                                        1241-000                            11,341.14

     WORKERS COMPENSATION                                                               1290-000                              1,222.44

     Preference-F & H Consulting                                                        1241-000                              5,000.00

     401K Termination                                                                   1290-000                              4,154.50


    TOTAL GROSS RECEIPTS                                                                                                 $1,128,462.90

1
    The Uniform Transaction Code is an accounting code assigned by the trustee for statistical reporting purposes.




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EXHIBIT 2 FUNDS PAID TO DEBTOR & THIRD PARTIES

                                                                                UNIFORM                            $ AMOUNT
    PAYEE                                DESCRIPTION
                                                                               TRAN. CODE                             PAID
                                                        None

 TOTAL FUNDS PAID TO DEBTOR AND THIRD                                                                                  $0.00
 PARTIES

EXHIBIT 3 SECURED CLAIMS


                                          UNIFORM          CLAIMS
   CLAIM                                                  SCHEDULED               CLAIMS            CLAIMS             CLAIMS
    NO.             CLAIMANT               TRAN.            (from Form           ASSERTED          ALLOWED              PAID
                                           CODE                 6D)
      19 -1 PumpingSol, Inc.                 4210-000             94,738.75        138,415.91        138,415.91                  0.00

      37S-1 Southwest National Bank          4210-000             37,838.66          37,255.75         37,255.75                 0.00

      39 -1 Simmons First National Bank 4210-000                 407,169.91        406,000.66        406,000.66                  0.00

      58 -2 Mid-Tec, Inc.                    4210-000            554,661.15        618,826.81        618,826.81                  0.00

      99 -1 Decker Electric, Inc.            4120-000            805,722.83       1,089,453.95      1,089,453.95                 0.00

     112 -1 Steinberger Construction,        4120-000             76,533.06          78,255.42         78,255.42                 0.00
            Inc.
     117 -1 Kansas Department of Labor       4210-000           N/A                  12,979.16         12,979.16                 0.00

     138 -1 Haldeman-Homme, Inc.             4120-000             68,882.00          81,435.92         81,435.92                 0.00

     142S-1 Cecil O'Brate                    4210-000          13,897,533.17      1,000,000.00         59,763.33                 0.00

 NOTFILED-1 Ford Credit                      4110-000             29,548.56         N/A                  N/A                     0.00

 NOTFILED-1 Legacy Bank                      4110-000            109,226.59         N/A                  N/A                     0.00

 NOTFILED-1 TD Auto Finance                  4110-000             60,248.61         N/A                  N/A                     0.00

           Cecil O'Brate                     4210-002           N/A                  59,763.33         59,763.33         59,763.33


 TOTAL SECURED CLAIMS                                       $16,142,103.29       $3,522,386.91     $2,582,150.24        $59,763.33



EXHIBIT 4 CHAPTER 7 ADMINISTRATIVE FEES and CHARGES


                                          UNIFORM
    PAYEE                                                  CLAIMS                 CLAIMS            CLAIMS             CLAIMS
                                           TRAN.
                                                          SCHEDULED              ASSERTED          ALLOWED              PAID
                                           CODE
 Other - Kansas   Investigative Services,        3991-000             N/A                 650.33         650.33                650.33
 Inc.
 Other - Kansas   Investigative Services,        3992-000             N/A                  56.00           56.00                56.00
 Inc.
 Auctioneer for   Trustee Expenses - Scott       3620-000             N/A             2,768.98          2,768.98          2,768.98
 Auction
 Auctioneer for   Trustee Fees - Scott           3610-000             N/A            15,880.00         15,880.00         15,880.00
 Auction
 Other - Allen,   Gibbs & Houlik, LC             3991-000             N/A                 890.50         890.50                890.50


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 Trustee Compensation - Carl B. Davis       2100-000     N/A         55,310.99        55,310.99    55,310.99

 Trustee Expenses - Carl B. Davis           2200-000     N/A         10,401.55        10,401.55    10,401.55

 Other - Hinkle Law Firm LLC                3991-000     N/A          2,471.00         2,471.00     2,471.00

 Clerk of the Court Costs - U.S. Bankruptcy 2700-000     N/A         10,850.00        10,850.00    10,850.00
 Court
 Other - Kuckelman & Stockemer              3410-000     N/A                0.00      30,647.50    30,647.50

 Attorney for Trustee Expenses (Trustee     3120-000     N/A                0.00        855.15       855.15
 Firm) - Davis & Jack, L.L.C.
 Attorney for Trustee Fees (Trustee Firm) - 3110-000     N/A                0.00           0.00         0.00
 Davis & Jack, L.L.C.
 Attorney for Trustee Fees (Trustee Firm) - 3110-000     N/A                0.00     137,212.49   137,212.49
 Davis & Jack, L.L.C.
 Other - Rabobank, N.A.                     2600-000     N/A               10.00         10.00        10.00

 Other - Rabobank, N.A.                     2600-000     N/A               10.00         10.00        10.00

 Other - Rabobank, N.A.                     2600-000     N/A               10.00         10.00        10.00

 Other - Rabobank, N.A.                     2600-000     N/A               10.00         10.00        10.00

 Other - Rabobank, N.A.                     2600-000     N/A               10.00         10.00        10.00

 Other - Rabobank, N.A.                     2600-000     N/A               26.55         26.55        26.55

 Other - Rabobank, N.A.                     2600-000     N/A           320.52           320.52       320.52

 Other - Rabobank, N.A.                     2600-000     N/A           369.61           369.61       369.61

 Other - Rabobank, N.A.                     2600-000     N/A           325.63           325.63       325.63

 Other - Rabobank, N.A.                     2600-000     N/A           361.78           361.78       361.78

 Other - Rabobank, N.A.                     2600-000     N/A           323.29           323.29       323.29

 Other - Rabobank, N.A.                     2600-000     N/A           379.80           379.80       379.80

 Other - Rabobank, N.A.                     2600-000     N/A           398.57           398.57       398.57

 Other - Rabobank, N.A.                     2600-000     N/A           530.86           530.86       530.86

 Other - Rabobank, N.A.                     2600-000     N/A           619.29           619.29       619.29

 Other - Rabobank, N.A.                     2600-000     N/A           467.43           467.43       467.43

 Other - Rabobank, N.A.                     2600-000     N/A           436.03           436.03       436.03

 Other - Rabobank, N.A.                     2600-000     N/A           483.71           483.71       483.71

 Other - Rabobank, N.A.                     2600-000     N/A           486.13           486.13       486.13

 Other - Rabobank, N.A.                     2600-000     N/A           667.88           667.88       667.88

 Other - Rabobank, N.A.                     2600-000     N/A           584.46           584.46       584.46

 Other - Rabobank, N.A.                     2600-000     N/A           728.21           728.21       728.21

 Other - Rabobank, N.A.                     2600-000     N/A           790.34           790.34       790.34

 Other - Rabobank, N.A.                     2600-000     N/A           952.25           952.25       952.25

 Other - Rabobank, N.A.                     2600-000     N/A           869.18           869.18       869.18

 Other - Rabobank, N.A.                     2600-000     N/A          1,218.63         1,218.63     1,218.63




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 Other - Rabobank, N.A.                   2600-000         N/A          1,241.83       1,241.83      1,241.83

 Other - Rabobank, N.A.                   2600-000         N/A            639.99         639.99       639.99

 Other - Rabobank, N.A.                   2600-000         N/A            753.70         753.70       753.70

 Other - Rabobank, N.A.                   2600-000         N/A            684.18         684.18       684.18

 Other - Rabobank, N.A.                   2600-000         N/A            682.28         682.28       682.28

 Other - Rabobank, N.A.                   2600-000         N/A            785.84         785.84       785.84

 Other - Rabobank, N.A.                   2600-000         N/A            668.04         668.04       668.04

 Other - Rabobank, N.A.                   2600-000         N/A            700.93         700.93       700.93

 Other - Rabobank, N.A.                   2600-000         N/A            766.75         766.75       766.75

 Other - Rabobank, N.A.                   2600-000         N/A            742.14         742.14       742.14

 Other - Rabobank, N.A.                   2600-000         N/A            669.74         669.74       669.74

 Other - Rabobank, N.A.                   2600-000         N/A            788.74         788.74       788.74

 Other - Rabobank, N.A.                   2600-000         N/A            713.48         713.48       713.48

 Other - Rabobank, N.A.                   2600-000         N/A            686.31         686.31       686.31

 Other - Mechanics Bank                   2600-000         N/A            780.39         780.39       780.39

 Other - Mechanics Bank                   2600-000         N/A            661.52         661.52       661.52

 Other - Mechanics Bank                   2600-000         N/A            779.07         779.07       779.07

 Other - Mechanics Bank                   2600-000         N/A          1,324.37       1,324.37      1,324.37

 Other - Mechanics Bank                   2600-000         N/A          1,463.49       1,463.49      1,463.49

 Other - Bank and Technology Fee          2600-000         N/A            729.24         729.24       729.24

 Other - Bank and Technology Fee          2600-000         N/A            654.51         654.51       654.51

 Other - Mechanics Bank                   2600-000         N/A          1,369.55       1,369.55      1,369.55

 Other - Mechanics Bank                   2600-000         N/A          1,321.78       1,321.78      1,321.78

 Other - People's United Bank             2600-000         N/A          1,498.48       1,498.48      1,498.48

 Other - People's United Bank             2600-000         N/A          1,306.65       1,306.65      1,306.65

 Other - People's United Bank             2600-000         N/A          1,259.75       1,259.75      1,259.75

 Other - People's United Bank             2600-000         N/A          1,482.49       1,482.49      1,482.49

 Other - People's United Bank             2600-000         N/A          1,346.45       1,346.45      1,346.45

 TOTAL CHAPTER 7 ADMIN. FEES                         N/A             $137,171.19    $305,886.33   $305,886.33
 AND CHARGES




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EXHIBIT 5 PRIOR CHAPTER ADMINISTRATIVE FEES and CHARGES


                                        UNIFORM
    PAYEE                                             CLAIMS               CLAIMS                CLAIMS        CLAIMS
                                         TRAN.
                                                     SCHEDULED            ASSERTED              ALLOWED         PAID
                                         CODE
                                                   None

 TOTAL PRIOR CHAPTER ADMIN.                               N/A                        $0.00            $0.00        $0.00
 FEES AND CHARGES


EXHIBIT 6 PRIORITY UNSECURED CLAIMS


                                        UNIFORM       CLAIMS               CLAIMS
   CLAIM                                             SCHEDULED            ASSERTED               CLAIMS        CLAIMS
    NO.          CLAIMANT                TRAN.        (from Form         (from Proofs of        ALLOWED         PAID
                                         CODE             6E)                 Claim)
           INTERNAL REVENUE SERVICE     5300-000          N/A                  N/A                 11,905.59    11,905.59

           WITHHOLDING TAX              5300-000          N/A                  N/A                  9,601.28     9,601.28

           INTERNAL REVENUE SERVICE     5300-000          N/A                  N/A                  2,784.38     2,784.38

           INTERNAL REVENUE SERVICE     5300-000          N/A                  N/A                  1,752.93     1,752.93

           INTERNAL REVENUE SERVICE     5300-000          N/A                  N/A                 40,492.66    40,492.66

           KANSAS DEPARTMENT OF LABOR   5800-000          N/A                  N/A                  5,184.71     2,733.44

           INTERNAL REVENUE SERVICE     5800-000          N/A                  N/A                   115.53        60.91

           INTERNAL REVENUE SERVICE     5800-000          N/A                  N/A                   494.00       260.44

           INTERNAL REVENUE SERVICE     5800-000          N/A                  N/A                 11,411.59     6,016.30

           INTERNAL REVENUE SVC         5800-000          N/A                  N/A                  1,023.36      539.52

           INTERNAL REVENUE SERVICE     5800-000          N/A                  N/A                  2,668.85     1,407.04

     10 -1 Johna K Pierce               5300-000          N/A                        839.98          548.92       548.92

     17 -1 U.S. Bankruptcy Court - Eric 5300-001            3,459.17              3,990.00          2,607.46     2,607.46
           Johnson
     21P-1 Kansas Department of Revenue 5800-000          N/A                   25,413.32          25,413.32    13,398.14

     27 -1 Jason Gates                  5300-000            4,543.99              5,642.42          3,687.32     3,687.32

     29 -1 U.S. Bankruptcy Court -      5300-001            4,398.09              4,398.09          2,874.16     2,874.16
           Curtis Dean
     31 -1 Joan Marie Taylor            5300-000            2,914.73              3,874.06          2,531.71     2,531.71

     32 -1 Robert Gregory Taylor        5300-000          N/A                     4,681.78          3,059.54     3,059.54

     34 -1 Adam Belyamani               5300-000          N/A                     8,319.22          5,436.61     5,436.61

     40 -1 JM Investment Trust          5300-000          N/A                     4,003.89          2,616.54     2,616.54

     41 -1 Chris Pruitt                 5300-000            2,451.44              4,413.08          2,883.95     2,883.95

     47 -1 Wisconsin Department of      5800-000                907.67               931.19          931.19       490.93
           Revenue
     50 -1 Brandon Peregrine            5300-000            2,789.61              5,925.14          3,872.08     3,872.08


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     57P-1 Internal Revenue Service     5800-000   1,087,260.33     1,019,721.21     1,019,721.21   537,606.55

     60 -1 Thomas Woosley               5300-000         3,239.23      4,250.01         2,777.38      2,777.38

     62 -1 Christopher Dale Carter      5300-000         4,101.99     10,315.52         6,741.19      6,741.19

     66 -1 Jacob Dawson                 5300-000         5,076.47      1,903.20         1,243.74      1,243.74

     67 -1 Jeremiah Dawson              5300-000    N/A                3,173.27         2,073.74      2,073.74

     69 -1 Keith Baldwin                5300-000         4,328.43      5,620.00         3,672.67      3,672.67

     72 -1 Summer Austin                5300-000         1,695.88      2,344.20         1,531.94      1,531.94

     78 -1 Guaranteed Claim Funding,    5300-000    N/A                4,846.78         3,167.37      3,167.37
           LLC
     79 -1 Joseph Jackson               5300-000    N/A                2,224.00         1,453.38      1,453.38

     83 -1 Kiel Robert Ulery            5300-000         3,995.87      3,995.87         2,611.31      2,611.31

     88 -1 Office of the County         5800-000    N/A                     52.91          52.91        27.89
           Counselor
     91 -1 Guaranteed Claim Funding,    5300-000    N/A                4,559.48         2,979.62      2,979.62
           LLC
     97 -1 U.S. Bankruptcy Court -      5300-001         3,156.99      3,972.00         2,595.71      2,595.71
           Andres Murillo
     98 -1 Eric P Mork                  5300-000     25,000.00        12,850.00         8,397.47      8,397.47

    103 -1 James Jackson                5300-000         6,203.47      5,634.00         3,681.82      3,681.82

    107 -1 Eric Stewart                 5300-000         3,489.89      3,587.95         2,344.72      2,344.72

    108 -1 Dillon King                  5300-000         4,275.40      5,314.00         3,472.70      3,472.70

    110 -1 Loren Michael Tripp          5300-000         3,676.45      3,676.45         2,402.56      2,402.56

    113P-1 Iowa Department of Revenue   5800-000     26,730.72         8,080.80         8,080.80      4,260.27

    118 -1 U.S. Bankruptcy Court - Tim 5300-001          2,235.76      3,000.00         1,960.50      1,960.50
           Livesay
    122 -1 JM Investment Trust         5300-000     N/A                5,264.00         3,440.02      3,440.02

    126 -1 Guaranteed Claim Funding,    5300-000         1,774.25      1,865.79         1,219.30      1,219.30
           LLC
    127 -1 Dawna Eldringhoff            5300-000         3,542.20      3,542.20         2,314.83      2,314.83

    128T-1 Ron Beemiller                5800-000    N/A              125,000.00             0.00          0.00

    128W-1 Ron Beemiller                5300-000     12,850.00        12,850.00         8,397.47      8,397.47

    129W-1 Julian Ariagno               5300-000     60,963.68        12,126.91         7,924.93      7,924.93

    132W-1 Elizabeth Maury              5300-000         1,853.06      3,681.24         2,405.69      2,405.69

    137 -1 Caleb Shelton                5300-000         7,477.70      6,350.00         4,149.72      4,149.72

    146 -2 US Dept of Labor             5400-000    N/A               15,328.95             0.00          0.00

    146A-2 Julian Ariagno               5300-000    N/A              N/A                    0.00          0.00

    146B-2 U.S. Bankruptcy Court -      5300-001     51,922.56             292.03         190.84       190.84
           Brandon Awtrey
    146C-2 Marc Awtrey                  5300-000    N/A                    615.75         402.38       402.38

    146D-2 U.S. Bankruptcy Court -      5300-001    N/A                    427.71         279.50       279.50
           Nathan Baker
    146E-2 Jeffrey Becker               5300-000    N/A                    438.96         286.86       286.86




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     146F-2 U.S. Bankruptcy Court -     5300-001         4,830.85           52.75        34.47      34.47
            Rodney Beek
     146G-2 Eugene Bonnell              5300-000    N/A                    173.34       113.28     113.28

     146H-2 Dean Camper                 5300-000         3,824.93          339.27       221.72     221.72

     146I-2 U.S. Bankruptcy Court - Tory 5300-001        1,476.00          327.82       214.24     214.24
            Cooley
     146J-2 Juan Cruz                    5300-000        1,830.26           48.39        31.62      31.62

     146K-2 Eric Ellis                  5300-000         3,635.74          292.03       190.84     190.84

     146L-2 Jason Gates                 5300-000    N/A              N/A                  0.00       0.00

     146M-2 John Goeschel               5300-000    N/A                    378.20       247.16     247.16

     146N-2 Charles Goodrich            5300-000    N/A                    504.33       329.58     329.58

     146O-2 U.S. Bankruptcy Court -     5300-001          721.35           175.18       114.48     114.48
            Bryce Gould
     146P-2 Shannon Hallowell           5300-000         1,476.00          163.14       106.61     106.61

     146Q-2 Dale Hammerschmidt          5300-000    N/A                    588.27       384.44     384.44

     146R-2 Roger Hansen                5300-000    N/A                    313.80       205.06     205.06

     146S-2 Kevin Houzenga              5300-000    N/A                    876.09       572.53     572.53

     146T-2 Lance Johnson               5300-000    N/A                    350.25       228.88     228.88

     146U-2 Dennis Kalp                 5300-000         1,964.61          188.84       123.41     123.41

     146V-2 U.S. Bankruptcy Court -     5300-001         2,739.67          678.54       443.42     443.42
            Rossner Landsbaum
     146W-2 U.S. Bankruptcy Court -     5300-001          968.94           292.64       191.25     191.25
            Hollie Lintz
     146X-2 Rick Malone                 5300-000    N/A                    504.33       329.58     329.58

     146Y-2 Brandon Maloy               5300-000         1,476.00    N/A                N/A          0.00

     146Z-2 Elizabeth Maury             5300-000    N/A              N/A                  0.00       0.00

     147 -1 Timothy Clyde Hunter        5300-000         4,217.11     6,200.00         4,051.70   4,051.70

     148 -1 Illinois Department of      5800-000    N/A               2,965.18         2,965.18   1,563.27
            Employment Security
     151P-1 Ohio Department of Taxation 5800-000    N/A               2,000.50         2,000.50   1,054.68

     158P-1 IL Dept of Revenue           5800-000         250.00      1,864.78         1,864.78    983.13
            Bankruptcy Section
     161P-1 TDOR co Attorney General BK 5800-000    N/A                    561.70       561.70     296.13
            Unit
     162 -1 TDOR co Attorney General BK 5800-000    N/A                    169.17       169.17      89.19
            Unit
     166 -1 Nebraska Department of       5800-000   N/A              N/A                  0.00       0.00
            Revenue
    146AA-2 U.S. Bankruptcy Court - Mike 5300-001   N/A                    491.73       321.34     321.34
            Morris
    146BB-2 Brandon Peregrine            5300-000        3,100.00    N/A                N/A          0.00

    146CC-2 Johna Pierce                5300-000          635.34     N/A                N/A          0.00

    146DD-2 Kevin Rogers                5300-000    N/A                    339.68       221.98     221.98

    146EE-2 Benjamin Root               5300-000    N/A               1,236.90          808.30     808.30

    146FF-2 U.S. Bankruptcy Court - Dan 5300-001         1,476.00          400.60       261.79     261.79
            Rueger



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    146GG-2 Virgil Schmidt              5300-000    N/A                      320.34       209.35   209.35

    146HH-2 Dale Selman                 5300-000          7,786.82           143.15        93.54    93.54

    146II-2 Gene Siedenberg             5300-000              0.00           411.48       268.90   268.90

    146JJ-2 James Sleder                5300-000    N/A                      105.50        68.94    68.94

    146KK-2 Eric Stewart                5300-000    N/A                N/A                  0.00     0.00

    146LL-2 U.S. Bankruptcy Court - Joe 5300-001          5,279.54            62.14        40.61    40.61
            Supik
    146MM-2 Joan Taylor                 5300-000    N/A                N/A                  0.00     0.00

    146NN-2 Robert Taylor               5300-000          3,564.84     N/A                N/A        0.00

    146OO-2 Scott Trego                 5300-000          1,476.00           297.00       194.09   194.09

    146PP-2 U.S. Bankruptcy Court -      5300-001   N/A                      142.57        93.16    93.16
            Matthew Vogel
    146QQ-2 U.S. Bankruptcy Court - Whit 5300-001   N/A                      105.50        68.94    68.94
            Walker
    146RR-2 David Wheeler                5300-000   N/A                      584.06       381.69   381.69

    146SS-2 Rick Wheeler                5300-000    N/A                      128.57        84.02    84.02

    146TT-2 Thomas Woosley              5300-000    N/A                N/A                  0.00     0.00

    146UU-2 Chris Pruitt                5300-000    N/A                N/A                  0.00     0.00

 NOTFILED-1 Alexander, Karl             5800-000          3,111.68     N/A                N/A        0.00

 NOTFILED-1 Alexander, Karl             5800-000          1,476.00     N/A                N/A        0.00

 NOTFILED-1 Azzarito, Andrew            5800-000          2,507.80     N/A                N/A        0.00

 NOTFILED-1 Azzarito, Andrew            5800-000           738.00      N/A                N/A        0.00

 NOTFILED-1 Behrens, Brittany           5800-000          1,066.00     N/A                N/A        0.00

 NOTFILED-1 Behrens, Brittany           5800-000           171.61      N/A                N/A        0.00

 NOTFILED-1 Behrens, Brittany           5800-000          1,066.00     N/A                N/A        0.00

 NOTFILED-1 Behrens, Brittany           5800-000           269.56      N/A                N/A        0.00

 NOTFILED-1 Belyamani, Adam             5800-000          3,174.62     N/A                N/A        0.00

 NOTFILED-1 Bennett, Cori               5800-000          1,084.32     N/A                N/A        0.00

 NOTFILED-1 Berry, Terry                5800-000          3,132.75     N/A                N/A        0.00

 NOTFILED-1 Berry, Terry                5800-000          1,476.00     N/A                N/A        0.00

 NOTFILED-1 Bird, Brook                 5800-000          2,783.48     N/A                N/A        0.00

 NOTFILED-1 Bird, Brook                 5800-000          1,476.00     N/A                N/A        0.00

 NOTFILED-1 Black, Brian                5800-000          3,115.25     N/A                N/A        0.00

 NOTFILED-1 Black, Brian                5800-000          1,476.00     N/A                N/A        0.00

 NOTFILED-1 Colorado Department of      5800-000         96,983.50     N/A                N/A        0.00
            Revenue
 NOTFILED-1 Dill, Douglas               5800-000          3,238.78     N/A                N/A        0.00

 NOTFILED-1 Dill, Douglas               5800-000           902.00      N/A                N/A        0.00




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 NOTFILED-1 Donahue, Josh                5800-000         2,138.47     N/A             N/A   0.00

 NOTFILED-1 Duncan, Douglas              5800-000          896.33      N/A             N/A   0.00

 NOTFILED-1 Duncan, Douglas              5800-000          328.00      N/A             N/A   0.00

 NOTFILED-1 Federal Department of Labor 5800-000              0.00     N/A             N/A   0.00
            Frances Perkins Building
 NOTFILED-1 Finger, Cody                5800-000          2,768.52     N/A             N/A   0.00

 NOTFILED-1 Finger, Cody                 5800-000         1,476.00     N/A             N/A   0.00

 NOTFILED-1 Flores, Javier               5800-000         3,318.99     N/A             N/A   0.00

 NOTFILED-1 Flores, Javier               5800-000         1,476.00     N/A             N/A   0.00

 NOTFILED-1 Foster, Sarah                5800-000          887.26      N/A             N/A   0.00

 NOTFILED-1 Franklin, Jason              5800-000         2,824.92     N/A             N/A   0.00

 NOTFILED-1 Gates, Michael               5800-000         3,152.53     N/A             N/A   0.00

 NOTFILED-1 Gates, Michael               5800-000         1,000.00     N/A             N/A   0.00

 NOTFILED-1 Glasscock, Timothy           5800-000         2,387.23     N/A             N/A   0.00

 NOTFILED-1 Glasscock, Timothy           5800-000          100.00      N/A             N/A   0.00

 NOTFILED-1 Good Jr, John                5800-000         3,201.83     N/A             N/A   0.00

 NOTFILED-1 Good Jr, John                5800-000         2,100.00     N/A             N/A   0.00

 NOTFILED-1 Grewing, Joseph              5800-000          234.79      N/A             N/A   0.00

 NOTFILED-1 Grewing, Joseph              5800-000          164.00      N/A             N/A   0.00

 NOTFILED-1 Hall Jr., Randy              5800-000         1,780.39     N/A             N/A   0.00

 NOTFILED-1 Hampton, Kyle                5800-000         2,204.19     N/A             N/A   0.00

 NOTFILED-1 Hazelwood, Raymond           5800-000         3,450.30     N/A             N/A   0.00

 NOTFILED-1 Hazelwood, Raymond           5800-000         1,476.00     N/A             N/A   0.00

 NOTFILED-1 Helmick, Bruce               5800-000         2,452.65     N/A             N/A   0.00

 NOTFILED-1 Helmick, Bruce               5800-000         1,476.00     N/A             N/A   0.00

 NOTFILED-1 Higginbotham, Adam           5800-000         1,730.15     N/A             N/A   0.00

 NOTFILED-1 Higginbotham, Adam           5800-000          246.00      N/A             N/A   0.00

 NOTFILED-1 Hoffman, Bernard             5800-000        70,000.00     N/A             N/A   0.00

 NOTFILED-1 Hoffman, Bernard             5800-000        12,850.00     N/A             N/A   0.00

 NOTFILED-1 Internal Revenue Service     5800-000    125,000.00        N/A             N/A   0.00
            Centralized Insolvency Oper.
 NOTFILED-1 Jennings, Bryan              5800-000          470.64      N/A             N/A   0.00

 NOTFILED-1 Jennings, Bryan              5800-000          328.00      N/A             N/A   0.00

 NOTFILED-1 Johnson, Dan                 5800-000         3,216.66     N/A             N/A   0.00

 NOTFILED-1 Kansas Department of Human   5800-000        36,419.40     N/A             N/A   0.00
            Resources
 NOTFILED-1 Kansas Department of Human   5800-000             0.00     N/A             N/A   0.00
            Resources



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 NOTFILED-1 Kansas Department of Human   5800-000        37,863.74     N/A             N/A   0.00
            Resources
 NOTFILED-1 Keith, Fawn                  5800-000         1,148.14     N/A             N/A   0.00

 NOTFILED-1 Lambert, Donna               5800-000         2,846.32     N/A             N/A   0.00

 NOTFILED-1 Lambert, Donna               5800-000         1,476.00     N/A             N/A   0.00

 NOTFILED-1 Lambert, Kenneth             5800-000         2,846.32     N/A             N/A   0.00

 NOTFILED-1 Lambert, Kenneth             5800-000         1,476.00     N/A             N/A   0.00

 NOTFILED-1 Lemons, Gage                 5800-000         1,476.00     N/A             N/A   0.00
            HC66
 NOTFILED-1 Leroy, Billy                 5800-000         1,807.36     N/A             N/A   0.00

 NOTFILED-1 Leroy, Billy                 5800-000         1,148.00     N/A             N/A   0.00

 NOTFILED-1 McCullough, Zebulah          5800-000         2,633.50     N/A             N/A   0.00

 NOTFILED-1 McCullough, Zebulah          5800-000         1,728.00     N/A             N/A   0.00

 NOTFILED-1 Merrill, Michael             5800-000          878.55      N/A             N/A   0.00

 NOTFILED-1 Merrill, Michael             5800-000          328.00      N/A             N/A   0.00

 NOTFILED-1 Minnesota Department of      5800-000         7,845.41     N/A             N/A   0.00
            Revenue
 NOTFILED-1 Nuss, Tyler                  5800-000         2,055.90     N/A             N/A   0.00

 NOTFILED-1 Nuss, Tyler                  5800-000         1,476.00     N/A             N/A   0.00

 NOTFILED-1 Pappan, Eric                 5800-000         2,356.64     N/A             N/A   0.00

 NOTFILED-1 Pappan, Eric                 5800-000         1,476.00     N/A             N/A   0.00

 NOTFILED-1 Penick, Scott                5800-000         1,578.35     N/A             N/A   0.00

 NOTFILED-1 Pillion, Jarod               5800-000         1,346.70     N/A             N/A   0.00

 NOTFILED-1 Powers, Thomas               5800-000         1,274.49     N/A             N/A   0.00

 NOTFILED-1 Prevatt, Eric                5800-000          515.12      N/A             N/A   0.00

 NOTFILED-1 Prevatt, Eric                5800-000          410.00      N/A             N/A   0.00

 NOTFILED-1 Roberts, Jason               5800-000         3,620.12     N/A             N/A   0.00

 NOTFILED-1 Roberts, Jason               5800-000         1,476.00     N/A             N/A   0.00

 NOTFILED-1 Robinson, Jami               5800-000          709.11      N/A             N/A   0.00

 NOTFILED-1 Robinson, Jami               5800-000          328.00      N/A             N/A   0.00

 NOTFILED-1 Searles, Michael             5800-000         1,529.97     N/A             N/A   0.00

 NOTFILED-1 Searles, Michael             5800-000         1,476.00     N/A             N/A   0.00

 NOTFILED-1 Sedgwick County Treasurer    5800-000        18,465.79     N/A             N/A   0.00

 NOTFILED-1 Shields, Zachary             5800-000         1,812.75     N/A             N/A   0.00

 NOTFILED-1 Shields, Zachary             5800-000         1,476.00     N/A             N/A   0.00

 NOTFILED-1 Skillman, Brian              5800-000         1,476.00     N/A             N/A   0.00

 NOTFILED-1 State of Louisiana - LDEQ   5800-000           607.20      N/A             N/A   0.00
            Financial Services Division



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 NOTFILED-1 Tennessee Department of     5800-000            246.00         N/A                  N/A              0.00
            Revenue
 NOTFILED-1 Verbeck, Todd               5800-000          1,571.70         N/A                  N/A              0.00

 NOTFILED-1 Vogel, Eric                 5800-000         50,000.00         N/A                  N/A              0.00

 NOTFILED-1 Vogel, Matt                 5800-000          3,007.82         N/A                  N/A              0.00

 NOTFILED-1 White, Matthew              5800-000          2,912.49         N/A                  N/A              0.00

 NOTFILED-1 White, Matthew              5800-000          1,476.00         N/A                  N/A              0.00

 NOTFILED-1 Wiebe, Zac                  5800-000          2,143.19         N/A                  N/A              0.00

 NOTFILED-1 Wiggans, Donnie             5800-000            410.00         N/A                  N/A              0.00

 NOTFILED-1 Wingerd, Gordon             5800-000          3,380.86         N/A                  N/A              0.00

 NOTFILED-1 Woodman, Jesse              5800-000            442.63         N/A                  N/A              0.00

 NOTFILED-1 Woodman, Jesse              5800-000            328.00         N/A                  N/A              0.00

 NOTFILED-1 Wulff, Austin               5800-000          1,394.00         N/A                  N/A              0.00

 NOTFILED-1 Wulff, Austin               5800-000            909.41         N/A                  N/A              0.00

 NOTFILED-1 Internal Revenue Service     5800-000       173,500.00         N/A                  N/A              0.00
            Centralized Insolvency Oper.
 NOTFILED-1 Internal Revenue Service     5800-000         8,578.13         N/A                  N/A              0.00
            Centralized Insolvency Oper.
 TOTAL PRIORITY UNSECURED                            $2,181,117.34      $1,394,115.12     $1,274,684.21   $762,813.24
 CLAIMS


EXHIBIT 7 GENERAL UNSECURED CLAIMS


                                       UNIFORM       CLAIMS            CLAIMS
   CLAIM                                            SCHEDULED         ASSERTED             CLAIMS         CLAIMS
    NO.           CLAIMANT              TRAN.       (from Form       (from Proofs of      ALLOWED          PAID
                                        CODE            6F)               Claim)
       1 -1 Midwest Crane & Rigging LLC 7100-000         11,075.00          13,555.00         13,555.00          0.00

       2 -1 Westar Energy Inc           7100-000            549.73            8,185.25         8,185.25          0.00

       3 -1 Mayer Specialty Services LLC 7100-000        23,540.00          23,540.00         23,540.00          0.00

       4 -1 Burris Fabrication          7100-000          1,601.93            1,601.93         1,601.93          0.00

       5 -1 Depco Pump Company Inc.     7100-000            494.43               494.43         494.43           0.00

       6 -1 Westmor Fluid Solutions, LLC 7100-000        11,798.78          11,798.78         11,798.78          0.00

       7 -1 Salisbury Supply            7100-000            318.25               307.16         307.16           0.00

       8 -1 Hammer Scale Co Inc         7100-000            337.88               337.88         337.88           0.00

       9 -1 AIRGAS USA LLC              7100-000            598.76               599.15         599.15           0.00

      11 -1 Martin Machine & Welding    7100-000          5,000.00            5,000.00         5,000.00          0.00
            Inc.
      12 -1 WestMor Industries, LLC     7100-000          9,620.88            9,620.88         9,620.88          0.00

      13 -1 Brand Plumbing Inc          7100-000          1,008.01            2,220.86         2,220.86          0.00

      14 -1 CenCon of Kansas, LLC       7100-000          4,100.00            4,308.03         4,308.03          0.00




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     15 -1 Big Tool Store LLC           7100-000          835.60            835.60        835.60    0.00

     16 -1 DeRosset Company             7100-000   N/A                  4,204.16         4,204.16   0.00

     18 -1 Sign Language Interpreting   7100-000          546.00            546.00        546.00    0.00
           Services
     20 -1 Calvin Opp Concrete, Inc.    7100-000        25,710.65      65,041.49        65,041.49   0.00

     21U-1 Kansas Department of Revenue 7100-000   N/A                  4,291.65         4,291.65   0.00

     22 -1 Anton Paar                   7100-000        13,238.90      13,238.90        13,238.90   0.00

     23 -1 Pendleco LLC                 7100-000   N/A                  7,185.63         7,185.63   0.00

     24 -1 Swanson Flo                  7100-000         8,978.37       8,978.37         8,978.37   0.00

     25 -1 Air Capital Equipment, Inc. 7100-000         92,554.86      96,204.33        96,204.33   0.00

     26 -1 International Fire           7100-000        47,411.33      47,411.33        47,411.33   0.00
           Protection Inc
     28 -1 Steel Fabrications, Inc.     7100-000         4,546.13       5,779.63         5,779.63   0.00

     30 -1 Foulston Siefkin LLP         7100-000        35,920.00      37,904.00        37,904.00   0.00

     33 -1 JFD Tube & Coil Products,    7100-000        29,415.00      29,415.00        29,415.00   0.00
           Inc.
     35 -1 Enegren                      7100-000         3,782.96       2,600.46         2,600.46   0.00

     36 -1 Wells Brothers, Inc.         7100-000        85,260.00      85,260.00             0.00   0.00

     36 -2 Wells Brothers, Inc.         7100-000   N/A                 15,932.73             0.00   0.00

     36 -3 Wells Brothers, Inc.         7100-000   N/A                 15,932.73        15,932.73   0.00

     38 -1 Bowman Construction Co.,     7100-000    541,227.59        593,581.31       593,581.31   0.00
           Inc.
     42 -1 AIRGAS USA LLC               7100-000   N/A                  1,672.82         1,672.82   0.00

     43 -1 AIRGAS USA LLC               7100-000         2,625.16       2,375.99         2,375.99   0.00

     44 -1 Reintjes & Hiter Co., Inc.   7100-000         1,913.48       2,079.57         2,079.57   0.00

     45 -1 ACAR Leasing LTD             7100-000   N/A                N/A                    0.00   0.00

     46 -1 Foerster Testing Limited     7100-000          728.00            728.00        728.00    0.00

     48 -1 Can It Services, LLC         7100-000          189.00        1,476.00         1,476.00   0.00

     49 -1 NCK Quarries, LLC            7100-000        20,932.56      20,932.56        20,932.56   0.00

     51 -1 P4 Consulting LLC            7100-000    105,117.15        105,117.15       105,117.15   0.00

     52 -1 Coating Specialties, LLC     7100-000        94,520.00      98,300.80        98,300.80   0.00

     53 -1 Piping Technology &          7100-000         4,599.50       4,450.35         4,450.35   0.00
           Products, Inc.
     54 -1 B & M Steel & Welding        7100-000         1,097.10       1,097.10         1,097.10   0.00

     55 -1 Big River Rubber & Gasket,   7100-000         1,141.09       1,141.09         1,141.09   0.00
           Inc.
     56 -1 Ferguson Enterprises, Inc.   7100-000         3,093.60       3,140.35         3,140.35   0.00

     57U-1 Internal Revenue Service     7100-000   N/A                283,779.73       283,779.73   0.00

     59 -1 Wex Bank                     7100-000   N/A                 24,526.82        24,526.82   0.00

     61 -1 Trenton Agri Products LLC    7100-000             0.00       5,400.00         5,400.00   0.00




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     63 -1 CornerBank co Rick           7100-000   N/A              1,642,443.77   1,642,443.77   0.00
           Griffin,Samantha Woods
     64 -1 Midwest Steel Fabricators    7100-000        93,061.00      73,496.00      73,496.00   0.00

     65 -1 Applied Industrial           7100-000          466.69         466.69         466.69    0.00
           Technologies
     68 -1 F&H Insulation Sales and     7100-000        47,570.61      56,754.00      56,754.00   0.00
           Services Inc
     70 -1 Baughman Company             7100-000         1,750.00       1,750.00       1,750.00   0.00

     71 -1 ICM, Inc                     7100-000        10,403.09      10,403.09      10,403.09   0.00

     73 -1 Precision Fitting and Gauge 7100-000         45,065.74      45,065.74      45,065.74   0.00
           Co.
     74 -1 Sentry Equipment Corp       7100-000          1,613.78       1,613.78       1,613.78   0.00

     75 -1 Team Industrial Services,    7100-000        44,736.50      44,736.50      44,736.50   0.00
           Inc
     76 -1 IMA Inc                      7100-000   N/A                 17,500.00      17,500.00   0.00

     77 -1 Protego USA, Inc.            7100-000        21,907.35      21,907.35      21,907.35   0.00

     80 -1 Total Quality Logistics LLC 7100-000          4,400.00       4,400.00       4,400.00   0.00

     81 -1 Bilfinger Water Technologies 7100-000        50,014.33      48,949.45      48,949.45   0.00
           Inc
     82 -1 Total Electric Inc.          7100-000        97,807.37      97,807.37      97,807.37   0.00

     84 -1 Sigma Engineers &            7100-000        10,893.27      10,893.27      10,893.27   0.00
           Constructors, Inc.
     85 -1 Praxair Distribution Inc     7100-000        32,413.97      29,046.58      29,046.58   0.00

     86 -1 Hajoca Corp                  7100-000        90,952.55      50,412.56      50,412.56   0.00

     87 -1 Electro Controls Inc         7100-000        33,745.00      33,745.00      33,745.00   0.00

     89 -1 United Telephone Company of 7100-000    N/A                   340.52         340.52    0.00
           Kansas/dbaCenturyLink
     90 -1 Johnson Controls, Inc.      7100-000         45,249.78      63,373.45      63,373.45   0.00

     92 -1 Arkema Inc                   7100-000    190,019.35        190,519.35     190,519.35   0.00

     93 -1 Steel Building Sales LLC     7100-000        32,186.00      17,404.00      17,404.00   0.00

     94 -1 Pumping Solutions, Inc.      7100-000         2,442.46        731.18         731.18    0.00

     95 -1 Indiana Steel Fabricating    7100-000    200,000.00        200,000.00     200,000.00   0.00
           Inc
     96 -1 Engineers-Architects PC      7100-000   N/A                 35,610.00      35,610.00   0.00

    100 -1 Fastenal                     7100-000         7,445.43       7,512.36       7,512.36   0.00

    101 -1 Adkins Energy LLC            7100-000   N/A                478,937.07     478,937.07   0.00

    102 -1 JCI Industries, Inc.         7100-000    190,567.52        190,567.52     190,567.52   0.00

    104 -1 Central Bank and Trust Co.   7100-000   N/A              2,428,224.76   2,428,224.76   0.00

    105 -1 Fremar Corporation           7100-000         4,916.87       5,827.90       5,827.90   0.00

    106 -1 Jogler, LLC                  7100-000         6,653.45       6,653.45       6,653.45   0.00

    109 -1 American Express Travel      7100-000        55,097.84      53,968.85      53,968.85   0.00
           Related
    111 -1 AimNorth Communications, Inc 7100-000        19,578.62      19,578.62      19,578.62   0.00

    113U-1 Iowa Department of Revenue   7400-000   N/A                   780.00         780.00    0.00




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    114 -1 Mitternight, Inc.            7100-000    319,720.94        312,220.95      312,220.95    0.00

    115 -1 Central National Bank        7100-000   N/A               5,734,350.98    5,734,350.98   0.00

    116 -1 Coleman Materials LLC        7100-000         1,221.20        1,221.20        1,221.20   0.00

    119 -1 FedEx Tech Connect Inc as    7100-000         1,427.14        1,427.14        1,427.14   0.00
           assignee of
    120 -1 Quality Industrial Products, 7100-000   N/A                 76,249.54       76,249.54    0.00
           Inc.
    121 -1 Fabsco Fin Air, LLC          7100-000        63,647.00      63,647.00       63,647.00    0.00

    123 -1 Cardinal Ethanol             7100-000             0.00     137,349.91      137,349.91    0.00

    124 -1 Wilson & Company Inc         7100-000        68,190.00      68,190.00       68,190.00    0.00

    125 -1 Mid-Missouri Energy, LLC     7100-000   N/A                965,764.00      965,764.00    0.00

    128U-1 Ron Beemiller                7100-000    293,097.71        293,097.17      293,097.17    0.00

    130 -1 Haldor Topsoe, Inc.          7100-000    391,056.71        376,208.71      376,208.71    0.00

    131 -1 Dore Electric Inc            7100-000         7,495.00        7,495.00        7,495.00   0.00

    133 -2 East Kansas Agri-Energy, LLC 7100-000             0.00    2,914,466.00            0.00   0.00

    134 -1 East Kansas Agri-Energy, LLC 7100-000   N/A                 17,050.00       17,050.00    0.00

    135 -1 East Kansas Agri-Energy, LLC 7100-000   N/A                   1,449.93        1,449.93   0.00

    135 -1 East Kansas Agri-Energy, LLC 7100-000   N/A                   1,449.93        1,449.93   0.00

    136 -1 Apache Stainless Equipment   7100-000    224,916.90        135,906.90      135,906.90    0.00
           Corp.
    139 -1 American Warrior, Inc.       7100-000   N/A               5,000,000.00    5,000,000.00   0.00

    140 -1 Prairie Horizon Advanced     7100-000             0.00    7,204,992.95    7,204,992.95   0.00
           Fuels, LLC
    141 -1 Cecil O'Brate                7100-000   N/A               5,000,000.00    5,000,000.00   0.00

    142U-1 Cecil O'Brate                7100-000   N/A              13,000,000.00   13,000,000.00   0.00

    143 -1 Alltite, Inc                 7100-000   N/A                   3,348.70        3,348.70   0.00

    144 -1 DBI Inc.                     7200-000        12,633.00      12,633.00       12,633.00    0.00

    145 -1 Max Jantz Excavating, Inc.   7100-000   N/A                 56,883.11       56,883.11    0.00

    149 -1 Campbell Concrete            7200-000   N/A                 12,943.25       12,943.25    0.00
           Construction LLC
    150 -1 Chemaqua                     7200-000   N/A                   4,384.85        4,384.85   0.00

    151U-1 Ohio Department of Taxation 7200-000    N/A                    300.00          300.00    0.00

    152 -1 Texas Comptroller of Public 7200-000    N/A                   3,898.25        3,898.25   0.00
           Accounts
    153 -1 Interstates Construction     7100-000   N/A                 87,531.72       87,531.72    0.00
           Services, Inc.
    154 -1 Cogent Inc d/b/a Lee Mathews 7100-000   N/A                   6,790.00        6,790.00   0.00
           Equipment
    155 -1 Dean E. Norris, Inc.         7100-000   N/A                   7,434.33        7,434.33   0.00

    156 -1 Shred-It USA LLC             7200-000          210.38          210.38          210.38    0.00

    157 -1 HABCO Inc                    7100-000   N/A                   5,000.00        5,000.00   0.00

    158U-1 IL Dept of Revenue           7200-000   N/A                    506.99          506.99    0.00
           Bankruptcy Section



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     159 -1 Gilbert Industries Inc       7100-000    133,127.00         62,000.00       62,000.00   0.00

     160 -1 Tranter Inc                  7100-000    118,348.59        115,000.00      115,000.00   0.00

     161U-1 TDOR co Attorney General BK 7200-000    N/A                      88.12         88.12    0.00
            Unit
     163 -1 Professional Engineering    7100-000     172,312.87         20,000.00       20,000.00   0.00
            Consultants PA
     164 -1 Wheeler Services, Inc.      7100-000         10,427.59      11,341.14       11,341.14   0.00

     165 -1 Coyle Mechanical Supply,     7100-000   N/A                  5,000.00        5,000.00   0.00
            Inc.
     166 -1 Nebraska Department of       7100-000   N/A                N/A                   0.00   0.00
            Revenue
     21SU-1 Kansas Department of Revenue 7400-000   N/A                  4,291.65        4,291.65   0.00

 NOTFILED-1 A&H Air Conditioning, Inc.   7100-000         5,648.00     N/A                 N/A      0.00

 NOTFILED-1 A-Relief Services, Inc.      7100-000           99.00      N/A                 N/A      0.00

 NOTFILED-1 AAA Disposal                 7100-000          395.00      N/A                 N/A      0.00

 NOTFILED-1 Adkins Energy, LLC           7100-000             0.00     N/A                 N/A      0.00

 NOTFILED-1 Advanced BioEnergy, LLC -   7100-000              0.00     N/A                 N/A      0.00
            Aberdeen
 NOTFILED-1 Allen, Gibbs & Houlik, L.C. 7100-000          3,739.40     N/A                 N/A      0.00

 NOTFILED-1 AMACS (Amistco Sep Products) 7100-000         5,641.69     N/A                 N/A      0.00

 NOTFILED-1 American Coalition for       7100-000         2,000.00     N/A                 N/A      0.00
            Ethanol
 NOTFILED-1 American Systems, Inc.       7100-000    101,105.00        N/A                 N/A      0.00

 NOTFILED-1 Andersons Clymers Ethanol    7100-000             0.00     N/A                 N/A      0.00
            LLC, The
 NOTFILED-1 AT&T U-verse                 7100-000          139.40      N/A                 N/A      0.00

 NOTFILED-1 Barnhart Crane               7100-000         1,825.00     N/A                 N/A      0.00

 NOTFILED-1 Belger Cartage Service, Inc 7100-000           825.00      N/A                 N/A      0.00

 NOTFILED-1 Bell Mirror & Glass, Inc.    7100-000          262.95      N/A                 N/A      0.00

 NOTFILED-1 Belt, Richard                7100-000         2,827.04     N/A                 N/A      0.00

 NOTFILED-1 Berry Material Handling      7100-000         2,826.77     N/A                 N/A      0.00

 NOTFILED-1 Best Supply                  7100-000        19,235.25     N/A                 N/A      0.00

 NOTFILED-1 Best Way Disposal, Inc.      7100-000          333.00      N/A                 N/A      0.00

 NOTFILED-1 Blu-John.com, Inc.           7100-000          178.95      N/A                 N/A      0.00

 NOTFILED-1 BlueLine Rental, LLC         7100-000         6,487.09     N/A                 N/A      0.00

 NOTFILED-1 Born, Inc                    7100-000        89,156.35     N/A                 N/A      0.00

 NOTFILED-1 Brace Integrated Services    7100-000        87,740.67     N/A                 N/A      0.00

 NOTFILED-1 Bridgeport Ethanol, LLC      7100-000             0.00     N/A                 N/A      0.00

 NOTFILED-1 Briner Building, Inc.        7100-000        91,345.00     N/A                 N/A      0.00

 NOTFILED-1 BS&B Safety Systems, LLC     7100-000         6,120.65     N/A                 N/A      0.00

 NOTFILED-1 Budget Rent A Car            7100-000         3,697.99     N/A                 N/A      0.00




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 NOTFILED-1 Budget Rent A Car Wichita    7100-000           79.26      N/A             N/A   0.00

 NOTFILED-1 Business Computer Skills     7100-000         2,400.00     N/A             N/A   0.00

 NOTFILED-1 CCI Thermal Technologies     7100-000        45,846.00     N/A             N/A   0.00
            Inc.
 NOTFILED-1 Cedar Valley Metal Supply    7100-000           50.40      N/A             N/A   0.00
            LLC
 NOTFILED-1 Central Indiana Ethanol, LLC 7100-000             0.00     N/A             N/A   0.00

 NOTFILED-1 Central States Group         7100-000         1,004.93     N/A             N/A   0.00

 NOTFILED-1 CenturyLink                  7100-000          374.33      N/A             N/A   0.00

 NOTFILED-1 Chase Card Services          7100-000        88,741.06     N/A             N/A   0.00

 NOTFILED-1 CHS, Inc                     7100-000          250.00      N/A             N/A   0.00

 NOTFILED-1 Cirus Water / Roaster Joe's 7100-000          1,054.24     N/A             N/A   0.00

 NOTFILED-1 Classic Forms & Design Co.   7100-000          526.76      N/A             N/A   0.00

 NOTFILED-1 Clerk of the District Court 7100-000           100.00      N/A             N/A   0.00
            ATTN: Attorney Registration
 NOTFILED-1 Control-Tech Inc.           7100-000         10,184.52     N/A             N/A   0.00

 NOTFILED-1 Corecon Technologies, Inc    7100-000          782.25      N/A             N/A   0.00

 NOTFILED-1 CORN, LP                     7100-000             0.00     N/A             N/A   0.00

 NOTFILED-1 Corporation Service Company 7100-000          3,784.00     N/A             N/A   0.00

 NOTFILED-1 Cotting Industries, Inc      7100-000    458,730.00        N/A             N/A   0.00

 NOTFILED-1 Coyle Supply, Inc            7100-000        85,153.75     N/A             N/A   0.00

 NOTFILED-1 D & K Tanks, LLC             7100-000        28,206.63     N/A             N/A   0.00

 NOTFILED-1 D & S Construction           7100-000         1,621.06     N/A             N/A   0.00
            Enterprises, LLC
 NOTFILED-1 DCD Services LLC.            7100-000         1,871.25     N/A             N/A   0.00

 NOTFILED-1 Delta of Georgia, Inc.       7100-000         1,282.80     N/A             N/A   0.00

 NOTFILED-1 Digital Office Systems       7100-000         1,399.53     N/A             N/A   0.00

 NOTFILED-1 E & H Piping LLC             7100-000        18,375.68     N/A             N/A   0.00

 NOTFILED-1 EAPC Industrial Services     7100-000        35,610.00     N/A             N/A   0.00

 NOTFILED-1 EMC Insurance Companies      7100-000    131,069.50        N/A             N/A   0.00

 NOTFILED-1 Enpro, Inc.                  7100-000         5,064.79     N/A             N/A   0.00

 NOTFILED-1 Equity Engineering Group,    7100-000         2,422.50     N/A             N/A   0.00
            Inc, The
 NOTFILED-1 ERI Solutions Inc            7100-000             0.00     N/A             N/A   0.00

 NOTFILED-1 Experitec, Inc.              7100-000         1,474.84     N/A             N/A   0.00

 NOTFILED-1 FABWELL CORPORATION          7100-000         2,600.00     N/A             N/A   0.00

 NOTFILED-1 Fahnestock Plumbing, Inc.    7100-000          379.90      N/A             N/A   0.00

 NOTFILED-1 Farris Engineering           7100-000        58,013.82     N/A             N/A   0.00

 NOTFILED-1 First Insurance Funding Corp 7100-000        58,979.46     N/A             N/A   0.00




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 NOTFILED-1 Flexi-Liner                  7100-000         2,728.69     N/A             N/A   0.00

 NOTFILED-1 Flottweg Separation          7100-000         3,858.90     N/A             N/A   0.00
            Technology Inc.
 NOTFILED-1 Fluid Conditioning, Inc.     7100-000         1,936.95     N/A             N/A   0.00

 NOTFILED-1 G & F Construction           7100-000         1,200.00     N/A             N/A   0.00

 NOTFILED-1 Gagnon, Inc                  7100-000         6,000.00     N/A             N/A   0.00

 NOTFILED-1 Garnett True Value           7100-000         1,427.21     N/A             N/A   0.00

 NOTFILED-1 Global Industrial            7100-000         1,533.06     N/A             N/A   0.00

 NOTFILED-1 Grainger                     7100-000          398.29      N/A             N/A   0.00

 NOTFILED-1 Green Energy Products, LLC   7100-000        76,569.59     N/A             N/A   0.00

 NOTFILED-1 High Reach Equipment, LLC    7100-000        11,787.45     N/A             N/A   0.00

 NOTFILED-1 Hollow Metal Door Co.        7100-000        11,512.00     N/A             N/A   0.00

 NOTFILED-1 Hovey Williams LLP           7100-000         7,735.00     N/A             N/A   0.00

 NOTFILED-1 HTH Companies Inc.           7100-000         4,500.00     N/A             N/A   0.00

 NOTFILED-1 Hughes Machinery Company     7100-000        22,507.00     N/A             N/A   0.00
            (FCX
 NOTFILED-1 Ideal Refuse & Roll Off      7100-000         1,535.60     N/A             N/A   0.00
            Service
 NOTFILED-1 IHS Global Inc               7100-000         4,479.52     N/A             N/A   0.00

 NOTFILED-1 IMA                          7100-000         8,750.00     N/A             N/A   0.00

 NOTFILED-1 Industrial Process Systems   7100-000         1,365.00     N/A             N/A   0.00

 NOTFILED-1 Iowa Renewable Fuels         7100-000         1,500.00     N/A             N/A   0.00
            Association
 NOTFILED-1 Iroquois Bio-Energy Company, 7100-000             0.00     N/A             N/A   0.00
            LLC
 NOTFILED-1 J&J Crane Rental, Inc.       7100-000          787.50      N/A             N/A   0.00

 NOTFILED-1 KAAPA Ethanol, L.L.C.        7100-000             0.00     N/A             N/A   0.00

 NOTFILED-1 Kansas Carpet & Tile, INC.   7100-000          432.30      N/A             N/A   0.00

 NOTFILED-1 Kansas City Valve & Fitting 7100-000          7,185.63     N/A             N/A   0.00
            Co., Inc.
 NOTFILED-1 Kansas Ethanol, LLC         7100-000              0.00     N/A             N/A   0.00

 NOTFILED-1 Kansas Gas Service           7100-000          444.55      N/A             N/A   0.00

 NOTFILED-1 Kansas Underground           7100-000         1,211.15     N/A             N/A   0.00

 NOTFILED-1 Kenny Pipe & Supply Inc      7100-000          669.67      N/A             N/A   0.00

 NOTFILED-1 Kice Industries Inc.         7100-000    149,969.95        N/A             N/A   0.00

 NOTFILED-1 Koch-Glitsch, LP             7100-000        16,413.10     N/A             N/A   0.00

 NOTFILED-1 Kruse Corporation            7100-000          557.00      N/A             N/A   0.00

 NOTFILED-1 Kurts Super Service          7100-000           43.26      N/A             N/A   0.00

 NOTFILED-1 L&K Services, Inc            7100-000         1,198.80     N/A             N/A   0.00

 NOTFILED-1 Lawrenceville Tank, LLC      7100-000             0.00     N/A             N/A   0.00




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 NOTFILED-1 Ledford Gage Laboratory Inc 7100-000            26.87      N/A             N/A   0.00

 NOTFILED-1 Lewis Goetz and Company Inc. 7100-000          160.00      N/A             N/A   0.00

 NOTFILED-1 Lilie's Flowers             7100-000           128.90      N/A             N/A   0.00

 NOTFILED-1 Little Sioux Corn           7100-000              0.00     N/A             N/A   0.00
            Processors, LLLP
 NOTFILED-1 Lowe's                      7100-000          2,754.54     N/A             N/A   0.00

 NOTFILED-1 M & M Waste, Inc.           7100-000           412.00      N/A             N/A   0.00

 NOTFILED-1 M&M Repair                  7100-000           412.78      N/A             N/A   0.00

 NOTFILED-1 M6 Concrete Accessories     7100-000           626.91      N/A             N/A   0.00

 NOTFILED-1 Mach Engineering, LLC       7100-000         78,983.75     N/A             N/A   0.00

 NOTFILED-1 Madden Rental               7100-000          2,294.77     N/A             N/A   0.00

 NOTFILED-1 Master Controls             7100-000           816.86      N/A             N/A   0.00

 NOTFILED-1 Matheson/Tri-Gas Inc.       7100-000         17,206.36     N/A             N/A   0.00

 NOTFILED-1 McDaniel Co. Inc.           7100-000           545.11      N/A             N/A   0.00

 NOTFILED-1 MDM Shelters LLC            7100-000           180.00      N/A             N/A   0.00

 NOTFILED-1 Mead O'Brien, Inc.          7100-000          9,735.68     N/A             N/A   0.00

 NOTFILED-1 Metrohm USA                 7100-000         23,758.44     N/A             N/A   0.00

 NOTFILED-1 Mid-Continent Safety LLC    7100-000           293.47      N/A             N/A   0.00

 NOTFILED-1 Mid-Missouri Energy, LLC    7100-000              0.00     N/A             N/A   0.00

 NOTFILED-1 Mid-States Supply Company   7100-000              9.38     N/A             N/A   0.00
            Inc
 NOTFILED-1 Midland Steel Company       7100-000           435.00      N/A             N/A   0.00

 NOTFILED-1 Midwest Laboratories        7100-000            93.00      N/A             N/A   0.00

 NOTFILED-1 Midwest Rentals Inc.        7100-000           236.25      N/A             N/A   0.00

 NOTFILED-1 MJE LLC (Max Jantz)         7100-000         56,943.11     N/A             N/A   0.00

 NOTFILED-1 Moore Iron & Steel Corp     7100-000         79,200.00     N/A             N/A   0.00

 NOTFILED-1 Mr. OutHouse                7100-000           262.50      N/A             N/A   0.00

 NOTFILED-1 MRC Global Inc.             7100-000         53,753.96     N/A             N/A   0.00

 NOTFILED-1 Multi Service Aviation      7100-000           794.21      N/A             N/A   0.00

 NOTFILED-1 National Board              7100-000              2.40     N/A             N/A   0.00
            Attn: Accreditation Dept.
 NOTFILED-1 National Fire Suppression   7100-000          9,710.00     N/A             N/A   0.00

 NOTFILED-1 New York Blower Co., The    7100-000         24,386.00     N/A             N/A   0.00

 NOTFILED-1 Office Depot                7100-000           757.66      N/A             N/A   0.00

 NOTFILED-1 On Site Stress Relieving     7100-000         5,477.50     N/A             N/A   0.00
            Services (OSR)
 NOTFILED-1 Pacific Ethanol Columbia,    7100-000             0.00     N/A             N/A   0.00
            LLC
 NOTFILED-1 Par Piping & Fabrication LLC 7100-000         4,830.60     N/A             N/A   0.00




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 NOTFILED-1 Pinnacle Mechanical          7100-000           65.00      N/A             N/A   0.00
            Services, LLC
 NOTFILED-1 Plant Maintenance Services   7100-000        12,624.04     N/A             N/A   0.00

 NOTFILED-1 Power Specialties, Inc.      7100-000        87,343.97     N/A             N/A   0.00

 NOTFILED-1 Prairie Horizon Agri-Energy, 7100-000             0.00     N/A             N/A   0.00
            LLC
 NOTFILED-1 Precision Administrators,    7100-000          749.25      N/A             N/A   0.00
            Inc.
 NOTFILED-1 Precision Planning, Inc.     7100-000         2,950.00     N/A             N/A   0.00

 NOTFILED-1 Premier Industries, Inc.     7100-000         1,089.64     N/A             N/A   0.00

 NOTFILED-1 Pricewaterhouse Coopers LLC 7100-000         31,789.00     N/A             N/A   0.00

 NOTFILED-1 Pride Ag Resources (TMC Ace 7100-000           118.78      N/A             N/A   0.00
            Maize)
 NOTFILED-1 Process Equipment &         7100-000          1,724.90     N/A             N/A   0.00
            Controls, Inc.
 NOTFILED-1 ProQuip, Inc.               7100-000         13,766.03     N/A             N/A   0.00

 NOTFILED-1 Quality Air Solutions        7100-000        23,387.34     N/A             N/A   0.00

 NOTFILED-1 Quality Industrial Products, 7100-000    187,579.74        N/A             N/A   0.00
            Inc.
 NOTFILED-1 R. H. Marlin, Inc.           7100-000        22,941.20     N/A             N/A   0.00

 NOTFILED-1 Redfield Energy LLC          7100-000             0.00     N/A             N/A   0.00

 NOTFILED-1 RedGuard                     7100-000             0.00     N/A             N/A   0.00

 NOTFILED-1 Reif Welding & Construction 7100-000          1,475.77     N/A             N/A   0.00
            LLC
 NOTFILED-1 Reliable Transport Solutions 7100-000        14,725.00     N/A             N/A   0.00

 NOTFILED-1 Republic Waste of Western    7100-000          431.48      N/A             N/A   0.00
            Indiana
 NOTFILED-1 RIX Industries               7100-000    107,755.68        N/A             N/A   0.00

 NOTFILED-1 Rosemount Analytical, Inc.   7100-000        81,304.32     N/A             N/A   0.00

 NOTFILED-1 RRS, LLC                     7100-000        15,381.17     N/A             N/A   0.00

 NOTFILED-1 Sanilift Inc                 7100-000          846.30      N/A             N/A   0.00

 NOTFILED-1 Schlick Crane Co., Inc.      7100-000         1,014.75     N/A             N/A   0.00

 NOTFILED-1 Sherwin-Williams             7100-000         1,072.16     N/A             N/A   0.00

 NOTFILED-1 Shore's Oil Company          7100-000          318.15      N/A             N/A   0.00

 NOTFILED-1 Show Me Ethanol, LLC.        7100-000             0.00     N/A             N/A   0.00

 NOTFILED-1 SIRE - Southwest Iowa        7100-000             0.00     N/A             N/A   0.00
            Renewable Energy
 NOTFILED-1 Southern Mechanical          7100-000        63,888.00     N/A             N/A   0.00
            Contractors, Inc.
 NOTFILED-1 Southway Crane & Rigging,    7100-000         3,004.06     N/A             N/A   0.00
            LLC
 NOTFILED-1 Star Lumber & Supply         7100-000         1,413.92     N/A             N/A   0.00

 NOTFILED-1 Stoc Products Inc            7100-000        47,420.10     N/A             N/A   0.00

 NOTFILED-1 Sulzer Chemtech USA, Inc.    7100-000        33,624.97     N/A             N/A   0.00

 NOTFILED-1 Sulzer Pumps Solutions, Inc. 7100-000    117,847.95        N/A             N/A   0.00




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 NOTFILED-1 Sunbelt Rentals Inc          7100-000         9,522.31     N/A             N/A   0.00

 NOTFILED-1 Superior Lamp Inc            7100-000          663.23      N/A             N/A   0.00

 NOTFILED-1 SWS Environmental Services   7100-000        13,352.98     N/A             N/A   0.00

 NOTFILED-1 Terracon Consultants, Inc.   7100-000        14,496.95     N/A             N/A   0.00

 NOTFILED-1 Thermal Windows, Inc         7100-000         7,032.00     N/A             N/A   0.00

 NOTFILED-1 Thorco Holdings, LLC         7100-000        27,664.19     N/A             N/A   0.00

 NOTFILED-1 Titan Machinery              7100-000         4,307.00     N/A             N/A   0.00

 NOTFILED-1 Triangle Engineering, Inc.   7100-000          501.24      N/A             N/A   0.00

 NOTFILED-1 Trident Automation, Inc      7100-000        19,170.00     N/A             N/A   0.00

 NOTFILED-1 Triplett, Woolf & Garretson, 7100-000         1,119.50     N/A             N/A   0.00
            LLC
 NOTFILED-1 Tulsa Gamma Ray, Inc         7100-000         3,175.00     N/A             N/A   0.00

 NOTFILED-1 United Rentals               7100-000    435,351.50        N/A             N/A   0.00

 NOTFILED-1 US Logo                      7100-000         2,571.33     N/A             N/A   0.00

 NOTFILED-1 Valero Renewable Fuels       7100-000             0.00     N/A             N/A   0.00
            Company, LLC
 NOTFILED-1 Valves and Industrial        7100-000    240,716.05        N/A             N/A   0.00
            Resources, LLP
 NOTFILED-1 Verizon Wireless             7100-000         3,643.04     N/A             N/A   0.00

 NOTFILED-1 Vogel Ventures, LLC          7100-000         3,068.81     N/A             N/A   0.00

 NOTFILED-1 Vogel, Eric                  7100-000    459,000.00        N/A             N/A   0.00

 NOTFILED-1 W & M Welding, Inc.          7100-000           19.44      N/A             N/A   0.00

 NOTFILED-1 Waste Connections            7100-000          505.28      N/A             N/A   0.00

 NOTFILED-1 Waste Management             7100-000          799.20      N/A             N/A   0.00

 NOTFILED-1 WB Technologies, LLC         7100-000    625,000.00        N/A             N/A   0.00

 NOTFILED-1 Welders Supply Company       7100-000           34.50      N/A             N/A   0.00

 NOTFILED-1 Wichita Coring & Cutting     7100-000         2,350.00     N/A             N/A   0.00

 NOTFILED-1 Wichita Fence Co., Inc.      7100-000          430.00      N/A             N/A   0.00

 NOTFILED-1 Williams Scotsman Inc.       7100-000         9,307.51     N/A             N/A   0.00

 NOTFILED-1 Wimmer Land Surveys, Inc.    7100-000          400.00      N/A             N/A   0.00

 NOTFILED-1 Winbco Tank Company          7100-000         5,000.00     N/A             N/A   0.00

 NOTFILED-1 World Fuel Services, Inc.    7100-000         4,432.41     N/A             N/A   0.00

 NOTFILED-1 Wright Express               7100-000        24,526.83     N/A             N/A   0.00
            Fleet Services
 NOTFILED-1 XL Automation, Inc.          7100-000        16,957.70     N/A             N/A   0.00

 NOTFILED-1 Ya Ya's                      7100-000         1,445.78     N/A             N/A   0.00

 NOTFILED-1 YRC Inc. dba YRC Freight     7100-000          235.46      N/A             N/A   0.00

 NOTFILED-1 Zook Excavating              7100-000        17,050.00     N/A             N/A   0.00




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 TOTAL GENERAL UNSECURED                    $9,390,247.83   $49,295,673.98   $46,280,015.25   $0.00
 CLAIMS




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                                         Individual Estate Property Record and Report
                                                          Asset Cases
Case Number: 16-10759                                                         Trustee:        (360110)     Carl B. Davis
Case Name:       WB SERVICES, LLC                                             Filed (f) or Converted (c): 04/28/16 (f)
                                                                              §341(a) Meeting Date:        05/23/16
Period Ending: 06/20/22                                                       Claims Bar Date:             08/15/16

                               1                                2                        3                      4               5                  6

                    Asset Description                        Petition/          Estimated Net Value         Property       Sale/Funds         Asset Fully
         (Scheduled And Unscheduled (u) Property)          Unscheduled     (Value Determined By Trustee,   Abandoned       Received by     Administered (FA)/
                                                              Values          Less Liens, Exemptions,      OA=§554(a)       the Estate      Gross Value of
Ref. #                                                                            and Other Costs)                                         Remaining Assets

 1       Bank of Oklahoma-Operating Account x3475                   0.00                     Unknown                                0.00                   FA

 2       Bank SNB                                                   0.00                         0.00                               0.00                   FA

 3       Bank SNB-Flexible Spending holding account                 0.00                     Unknown                                0.00                   FA

 4       Bank SNB-Operating Account x4640                           0.00                         0.00                               0.00                   FA

 5       Bank SNB-Payroll Account                                   0.00                         0.00                               0.00                   FA

 6       Legacy Bank-Operating Account x9397                        0.00                         0.00                               0.00                   FA

 7       Simmons First-Checking Account x5090                       0.00                         0.00                               0.00                   FA

 8       Simmons First-Operating Account x5872                      0.00                  35,853.71                            35,813.71                   FA

 9       Simmons First-Flexible Spending holding account            0.00                         0.00                               0.00                   FA

10       Simmons First-Payroll Account x0877                        0.00                         0.00                               0.00                   FA

11       Simmons First x4434                                        0.00                         0.00                               0.00                   FA

12       Pre-paid insurance account with IMA                        0.00                         0.00                               0.00                   FA

13       Chevy Colorado (See Footnote)                         16,546.95                  16,546.95                                 0.00                   FA

14       2015 Chevy Silverado VIN 1GC1KUE82FF161766.           46,143.08                  46,143.08                            36,500.00                   FA

15       2015 Chevy Silverado VIN 1GC1KUE88FF162002            46,143.08                  46,143.08                            32,000.00                   FA

16       2015 Chevy Silverado VIN 1GC1KUE84FF160733            46,143.08                  46,143.08                            37,000.00                   FA

17       2014 E-Z-Go Express S/N 3088191                        9,000.00                     9,000.00                               0.00                   FA

18       2015 Kia Optima VIN XXGM4A70FG353805                  21,969.78                  21,969.78                             8,800.00                   FA

19       2015 Kia Optima VIN XXGM4A78FG357133                  21,969.78                  21,969.78                             7,400.00                   FA

20       2014 GMC Sierra VIN 3GTU2VEC4EG502105 (See            49,182.61                  11,343.95                                 0.00                   FA
         Footnote)

21       2009 GMC Sierra VIN 3GT3K33M99G241466                 14,507.04                  14,507.04                             8,250.00                   FA

22       2009 GMC Sierra VIN 3GT3K33M59G257373                 14,507.04                  14,507.04                            12,900.00                   FA

23       2004 GMC 2500 HD VIN 1GTHK23U94F189709                25,583.00                  25,583.00                                 0.00                   FA
         (See Footnote)

24       2007 Denali XL VIN 1GKFK66897J398242                  57,133.00                  57,133.00                             5,500.00                   FA

25       2011 Denali VIN 1GKS2MEF7BR230242 (See                47,007.72                  47,007.72                                 0.00                   FA
         Footnote)



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                                          Individual Estate Property Record and Report
                                                           Asset Cases
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                                                                                   §341(a) Meeting Date:        05/23/16
Period Ending: 06/20/22                                                            Claims Bar Date:             08/15/16

                               1                                     2                         3                     4               5                  6

                    Asset Description                             Petition/          Estimated Net Value         Property       Sale/Funds         Asset Fully
         (Scheduled And Unscheduled (u) Property)               Unscheduled     (Value Determined By Trustee,   Abandoned       Received by     Administered (FA)/
                                                                   Values          Less Liens, Exemptions,      OA=§554(a)       the Estate      Gross Value of
Ref. #                                                                                 and Other Costs)                                         Remaining Assets

26       2011 GMC Sierra VIN 1GT12ZCG9BF138969                      35,979.51                   35,979.51                           10,000.00                   FA

27       2004 Ford F250 Super Duty VIN                              10,821.20                   10,821.20                            2,500.00                   FA
         3FTNF20L54MA13744 (See Footnote)

28       2001 GMC Sierra 2500 HD VIN                                 9,500.00                      9,500.00                          2,700.00                   FA
         1GTHC29U71E224060

29       2012 GMC Sierra Denali VIN 3GTP2XE27CG138579               51,807.68                   51,807.68                           19,100.00                   FA
         (See Footnote)

30       2013 Acura MDX VIN 2HNYD2H37DH511590 (See                  49,819.32                   49,819.32                           12,500.00                   FA
         Footnote)

31       2013 Ford F150 VIN 1FTFW1ET7DFB90397 (See                  40,734.21                   11,185.65                                0.00                   FA
         Footnote)

32       2012 Ford Expedition VIN 1FMJU2A5XCEF45365                 52,744.01                   32,661.14                                0.00                   FA
          $60,248.61 lien split with asset no 33 and 34. (See
         Footnote)

33       2013 Ford F150 Platinum VIN 1FTFX1CF2DKD25206              57,838.37                   37,755.50                                0.00                   FA
          Ford Credit $29,548.56 and TD Auto Finance
         $60,248.61 - $60,248.61 lien split with asset no. 32
         and 34. (See Footnote)

34       2011 Ford F350 Super VIN 1FT8W3DT0BEA21475                 50,000.00                   29,917.13                                0.00                   FA
          $60,248.61 lien split with asset no. 32 and 33 (See
         Footnote)

35       2012 Jeep Wrangler VIN 1C4HJWDG2CL261322                   40,609.85                   40,609.85                                0.00                   FA
         (See Footnote)

36       Equity investment - LAWE, LLC                              48,000.00                   48,000.00                                0.00                   FA

37       Equity Investment- Rodeway Inn                             30,000.00                   30,000.00                                0.00                   FA

38       A/R Over 90 days old [Face amount]                        163,000.00                  163,000.00                                0.00                   FA

39       Inventory, Parts & Pipes                                  901,109.93                      Unknown                               0.00                   FA
          In possession of Cecil Obrate in Garden City.

40       Machinery, fixtures and equipment (excluding ...        5,637,810.54                 5,637,810.54                          22,450.00                   FA

41       Marquis Energy LLC Hennepil IL: E150 SWOFF                149,221.74                          0.00                              0.00                   FA

42       Cetane pilot plant                                          Unknown                           0.00                              0.00                   FA



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                                            Individual Estate Property Record and Report
                                                             Asset Cases
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Case Name:        WB SERVICES, LLC                                                 Filed (f) or Converted (c): 04/28/16 (f)
                                                                                   §341(a) Meeting Date:        05/23/16
Period Ending: 06/20/22                                                            Claims Bar Date:             08/15/16

                                  1                                  2                        3                      4               5                    6

                    Asset Description                             Petition/          Estimated Net Value         Property       Sale/Funds           Asset Fully
         (Scheduled And Unscheduled (u) Property)               Unscheduled     (Value Determined By Trustee,   Abandoned       Received by       Administered (FA)/
                                                                   Values          Less Liens, Exemptions,      OA=§554(a)       the Estate        Gross Value of
Ref. #                                                                                 and Other Costs)                                           Remaining Assets

43       Membrane pilot plant                                        Unknown                          0.00                                 0.00                   FA

44       4Q 2013 Capitalization of pump added to skin                2,408.39                         0.00                                 0.00                   FA

45       Renewable diesel technology use agreements (3) s        3,000,000.00                         0.00                                 0.00                   FA

46       300 E Industrial Drive Sedgwick Ks 67135                  750,000.00                 342,830.09                                   0.00                   FA

47       200 E Industrial Drive Sedgwick Ks 67135                  140,000.00                  30,773.41                                   0.00                   FA

48       Preference- AT&T Mobility                                   1,286.52                     1,286.52                                 0.00                   FA

49       Preference- Belt, Inc.                                     52,697.50                  52,697.50                                   0.00                   FA

50       Preference- Blue Cross Blue Shield of Kansas              104,994.93                 104,994.93                                   0.00                   FA

51       Preference- Born, Inc.                                     69,001.35                  69,001.35                            40,000.00                     FA

52       Preference- Brand Electric, Inc. (See Footnote)            37,410.00                  37,410.00                            19,000.00                     FA

53       Preference- Campbell Concrete Construction, LLC (u)        12,943.25                  12,943.25                            12,943.25                     FA

54       Preference- Chase Card Member Services (u)                  6,019.00                     6,019.00                                 0.00                   FA

55       Preference- Cotting Industries, Inc.                      321,300.00                 321,300.00                                   0.00                   FA
           Cotting provided evidence that transaction was not
         preferential.

56       Preference- Cox Communications (u)                          8,669.43                     8,669.43                                 0.00                   FA

57       Preference- D & K Tanks (See Footnote)                     67,481.00                  67,481.00                            20,000.00                     FA

58       Preference- Dean E. Norris, Inc.                            9,791.10                     9,791.10                           7,434.33                     FA
           6/26/17- Order Granting Compromise filed.

59       Preference- Enegren (u) (See Footnote)                      5,000.00                     5,000.00                                 0.00                   FA

60       Preference- Farris Engineering (See Footnote)              42,600.00                  42,600.00                            40,000.00                     FA

61       Preference- First Insurance Funding Corp                   35,207.49                  35,207.49                                 484.82                   FA

62       Preference- Gilbert Industries, Inc. (See Footnote)        68,731.00                  68,731.00                            62,000.00                     FA

63       Preference- Green Energy Products (GEP)                    12,015.86                  12,015.86                                   0.00                   FA

64       Preference- HABCO, Inc. (See Footnote)                     12,517.00                  12,517.00                             5,000.00                     FA

65       Preference- HAJOCA                                         10,423.79                  10,423.79                             6,000.00                     FA

66       Preference- Integro Energy Group, Inc. (See               304,070.00                 304,070.00                           145,000.00                     FA
         Footnote)



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                                           Individual Estate Property Record and Report
                                                            Asset Cases
Case Number: 16-10759                                                               Trustee:         (360110)    Carl B. Davis
Case Name:        WB SERVICES, LLC                                                  Filed (f) or Converted (c): 04/28/16 (f)
                                                                                    §341(a) Meeting Date:        05/23/16
Period Ending: 06/20/22                                                             Claims Bar Date:             08/15/16

                                1                                     2                         3                     4               5                  6

                    Asset Description                              Petition/          Estimated Net Value         Property       Sale/Funds         Asset Fully
         (Scheduled And Unscheduled (u) Property)                Unscheduled     (Value Determined By Trustee,   Abandoned       Received by     Administered (FA)/
                                                                    Values          Less Liens, Exemptions,      OA=§554(a)       the Estate      Gross Value of
Ref. #                                                                                  and Other Costs)                                         Remaining Assets

67       Preference- Internal Revenue Service                       177,717.53                 1,777,717.53                               0.00                   FA

68       Preference- Interstates Construction Srvcs                 116,708.96                  116,708.96                           87,531.72                   FA
          Order compromising filed 5/1/17.

69       Preference- Kansas Dept of Revenue                          17,288.78                   17,288.78                                0.00                   FA

70       Preference- Kenny Pipe & Supply, Inc.                      165,650.00                  165,650.00                           75,000.00                   FA

71       Preference- Nebraska Dept of Revenue (See                    9,382.52                      9,382.52                              0.00                   FA
         Footnote)

72       Preference- RRS, LLC.                                       34,970.00                   34,970.00                                0.00                   FA

73       Preference- Sedgwick Ventures                              290,051.09                  290,051.09                                0.00                   FA

74       Preference- Sulzer Pumps Solutions, Inc. (See              173,853.00                  173,853.00                           40,500.00                   FA
         Footnote)

75       Preference- Tranter, Inc. (See Footnote)                   212,873.30                  212,873.30                          115,000.00                   FA

76       Preference- United Rentals (North America), Inc.            71,203.95                   71,203.95                                0.00                   FA

77       Preference- Valves and Industrial Resources, LLP            17,881.00                   17,881.00                                0.00                   FA

78       Preference- Westar Energy                                    8,669.43                      8,669.43                          8,669.43                   FA

79       Office furniture, fixtures, and equipment;                 460,829.89                  460,829.89                                0.00                   FA
          and collectibles: Office Furniture and
         Fixtures-$168,569.82; Office equipment, including all
         computer equipment and communication systems
         equipment and software- Computer Harware and
         Software $224,395.03; and Office Equipment
         $67,865.04 (See Footnote)

80       Preference- American Express                                 Unknown                       Unknown                               0.00                   FA

81       Preference- Apache Stainless Equipment Corp (u)             54,601.50                   54,601.50                                0.00                   FA

82       Preference- Best Supply (u)                                 18,300.90                   18,300.90                            1,000.00                   FA

83       Preference- BIG Services (u)                                18,275.00                   18,275.00                                0.00                   FA

84       Preference- Black's Concrete Services (u)                    7,204.40                      7,204.40                              0.00                   FA

85       Preference- C & S Technical Resources, Inc. (u)             17,422.50                   17,422.50                                0.00                   FA

86       Preference-Control-Tech, Inc. (u)                           45,421.04                   45,421.04                                0.00                   FA

87       Preference-Control Application & Maintenance Inc (u)        20,993.34                   20,993.34                            2,500.00                   FA


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                                          Individual Estate Property Record and Report
                                                           Asset Cases
Case Number: 16-10759                                                              Trustee:        (360110)     Carl B. Davis
Case Name:       WB SERVICES, LLC                                                  Filed (f) or Converted (c): 04/28/16 (f)
                                                                                   §341(a) Meeting Date:        05/23/16
Period Ending: 06/20/22                                                            Claims Bar Date:             08/15/16

                               1                                     2                        3                      4               5                  6

                    Asset Description                             Petition/          Estimated Net Value         Property       Sale/Funds         Asset Fully
         (Scheduled And Unscheduled (u) Property)               Unscheduled     (Value Determined By Trustee,   Abandoned       Received by     Administered (FA)/
                                                                   Values          Less Liens, Exemptions,      OA=§554(a)       the Estate      Gross Value of
Ref. #                                                                                 and Other Costs)                                         Remaining Assets

          (CAM) (See Footnote)

88       Preference- Coyle Supply, Inc. (u) (See Footnote)          94,991.49                  94,991.49                             5,000.00                   FA

89       Preference- Dore Electric (u)                              92,435.00                  92,435.00                                 0.00                   FA

90       Preference- Dresser-Rand Group, Inc. (u)                  349,632.50                 349,632.50                                 0.00                   FA

91       Preference- EMC Insurance Companies (u)                    17,734.00                  17,734.00                                 0.00                   FA
          Engineering)

92       Preference- FSE Energy (Factory Sales and (u)              15,506.67                  15,506.67                                 0.00                   FA
          Engineering)

93       Preference- Hughes Machinery (FCX (u)                      42,996.20                  42,996.20                             5,000.00                   FA
          Performance) (See Footnote)

94       Preference- Kaiser Electric (u) (See Footnote)             32,385.00                  32,385.00                            14,000.00                   FA

95       Preference- Kansas Dept of Human Resources (u)             23,818.15                  23,818.15                                 0.00                   FA

96       Preference- Kice Industries, Inc. (u) (See Footnote)      118,191.35                 118,191.35                             5,000.00                   FA

97       Preference- Lee Mathews Equipment / Cogent (u)              9,054.52                     9,054.52                           6,790.00                   FA
         (See Footnote)

98       Preference- Loescher Heating and A/C (u)                    7,618.00                     7,618.00                               0.00                   FA

99       Preference- Matheson / Tri-Gas, Inc. (u)                   12,369.49                  12,369.49                            10,000.00                   FA

100      Preference- Mid-Tec, Inc. (u) (See Footnote)              114,780.50                 114,780.50                            55,578.96                   FA

101      Preference- Myers-Aubrey Company (u)                       10,159.44                  10,159.44                            10,159.44                   FA

102      Preference- Precision Process Controls (u)                 17,422.50                  17,422.50                                 0.00                   FA

103      Preference- Professional Engineering Consultants (u)       72,540.00                  72,540.00                            20,000.00                   FA

104      Preference- PumpingSol, Inc. (u)                           72,540.00                  72,540.00                                 0.00                   FA

105      Preference- RIX Industries (u)                            234,850.00                 234,850.00                            10,000.00                   FA

106      Preference- Rombough Electric, Inc. (u)                    82,810.82                  82,810.82                                 0.00                   FA

107      Preference- Simmons First National Bank (u)                11,099.70                  11,099.70                                 0.00                   FA

108      Preference- Stoc Products, Inc. (u)                         8,712.89                     8,712.89                               0.00                   FA

109      Preference- Swanson Flo (u)                                11,459.64                  11,459.64                            11,820.00                   FA

110      Preference- Thorco Holdings, LLC (u)                       21,084.00                  21,084.00                                 0.00                   FA



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                                           Individual Estate Property Record and Report
                                                            Asset Cases
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                                 1                                         2                           3                        4               5                    6

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         (Scheduled And Unscheduled (u) Property)                   Unscheduled         (Value Determined By Trustee,      Abandoned       Received by       Administered (FA)/
                                                                       Values              Less Liens, Exemptions,         OA=§554(a)       the Estate        Gross Value of
Ref. #                                                                                         and Other Costs)                                              Remaining Assets

111      Preference- Triplett, Woolf & Garretson, LLC (u)                110,273.35                    110,273.35                                     0.00                   FA

112      Preference- Ultraflote Corporation (u)                           10,694.00                     10,694.00                                     0.00                   FA

113      Preference- Westco International, Inc. (u)                       89,069.00                     89,069.00                                     0.00                   FA

114      Preference- Westmor Fluid Solutions, LLC (u)                     15,733.22                     15,733.22                                     0.00                   FA

115      Preference- Wiltsie Construction Co., Inc. (u)                  157,038.94                    157,038.94                                     0.00                   FA

116      Preference- Worldwide Pipe & Supply, Inc. (u)                     7,946.06                        7,946.06                              7,946.06                    FA

117      Petty cash (u)                                                         21.80                          21.80                                 21.80                   FA

118      Reimbursement- EMC Insurance Companies (u)                            500.00                       500.00                                  500.00                   FA
          Reimbursement of $500 collision deductible after
         100% arbitration awarded against adverse insurance
         company.

119      Scrap metal recycling (u)                                               0.00                           0.00                                326.64                   FA

120      License Agreement-East Kansas Agri-Energy (u)                 1,000,000.00                   1,000,000.00                                    0.00                   FA

121      Preference- Steel Fabrications, Inc. (u)                          1,881.24                        1,881.24                                 940.62                   FA

122      Preference-Nebraska Crane, Inc. (u)                               3,653.55                        3,653.55                              2,000.00                    FA

123      IFBOA-Good Experience Return (u)                                      184.04                       184.04                                  184.04                   FA

124      Preference-Wheeler Services (u) (See Footnote)                   93,848.31                     93,848.31                               11,341.14                    FA

125      WORKERS COMPENSATION (u)                                          1,222.44                        1,222.44                              1,222.44                    FA

126      Preference-F & H Consulting (u)                                  42,600.00                     42,600.00                                5,000.00                    FA
          Compromised 2/20/19

127      401K Termination (u)                                              4,154.50                        4,154.50                              4,154.50                    FA
          Payment for 401K termination

127      Assets     Totals (Excluding unknown values)                $17,771,710.57                $14,710,791.89                           $1,128,462.90                 $0.00


      RE PROP# 13         This vehicle was wrecked and considered a total loss. EMC took possession of vehicle after cutting
                       check to Sedgwick Ventures.
      RE PROP# 20         Liened to Southwest National Bank; Repossessed; Notice of Intent to Sale received.
      RE PROP# 23         Vehicle wrecked. No longer in Debtor's possession.
      RE PROP# 25         Titled to Sedgwick Ventures.
      RE PROP# 27         Titled to Sedgwick Ventures.
      RE PROP# 29         Titled to Sedgwick Ventures.



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                                                                               Form 1                                                                                  Page: 7

                                         Individual Estate Property Record and Report
                                                          Asset Cases
Case Number: 16-10759                                                                   Trustee:       (360110)      Carl B. Davis
Case Name:       WB SERVICES, LLC                                                       Filed (f) or Converted (c): 04/28/16 (f)
                                                                                        §341(a) Meeting Date:        05/23/16
Period Ending: 06/20/22                                                                 Claims Bar Date:             08/15/16

                              1                                           2                        3                       4                  5                   6

                    Asset Description                                  Petition/        Estimated Net Value           Property            Sale/Funds         Asset Fully
         (Scheduled And Unscheduled (u) Property)                    Unscheduled   (Value Determined By Trustee,     Abandoned            Received by     Administered (FA)/
                                                                        Values        Less Liens, Exemptions,        OA=§554(a)            the Estate      Gross Value of
Ref. #                                                                                    and Other Costs)                                                Remaining Assets

     RE PROP# 30       Titled to Sedgwick Ventures
     RE PROP# 31       Titled to Sedgwick Ventures.
     RE PROP# 32       Titled to Sedgwick Ventures.
     RE PROP# 33       Titled to Sedgwick Ventures.
     RE PROP# 34       Titled to Sedgwick Ventures.
     RE PROP# 35       Titled to Sedgwick Ventures.
     RE PROP# 52       Compromise & Settlement
     RE PROP# 57       Compromised- see 11/29/17, order.
     RE PROP# 59       Withdrew Demand for Preference
     RE PROP# 60       Settled (2/22/18, order).
     RE PROP# 62       Compromised (#9; filed 10/5/17).
     RE PROP# 64       Compromised for $5K per 10/6/17, order (compromise no. 10).
     RE PROP# 66       Settled per 6/4/18, Order Granting Compromise.
     RE PROP# 71       Withdrew demand for preference
     RE PROP# 74       Settled per 6/19/18, Order Granting compromise.
     RE PROP# 75       Settled. Order filed 1/26/18.
     RE PROP# 79       Subject to Cecil O'Brates security interest
     RE PROP# 87       Per 2/3/19, Order on Compromise
     RE PROP# 88       Per 2/3/19, Order on intended compromise.
     RE PROP# 93       Settled. See 2/28/18, Order.
     RE PROP# 94       Compromise filed 1/24/18.
     RE PROP# 96       Settlement per 2/12/19, order.
     RE PROP# 97       Compromise & Settlement
     RE PROP# 100      Per Order filed 7/13/18 & Judgment dated 12/11/18.
     RE PROP# 124      Settled per 6/4/18, Order.



     Major Activities Affecting Case Closing:

                04/29/2019-Pending Adversary Proceedings to collect preference claims

     Initial Projected Date Of Final Report (TFR):      December 31, 2017                 Current Projected Date Of Final Report (TFR):     August 16, 2021 (Actual)




                                          Case 16-10759                   Doc# 618            Filed 07/20/22              Page 31Printed:
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                                                                                        Form 2                                                                                  Page: 1

                                                    Cash Receipts And Disbursements Record
Case Number:        16-10759                                                                            Trustee:            Carl B. Davis (360110)
Case Name:          WB SERVICES, LLC                                                                    Bank Name:          Mechanics Bank
                                                                                                        Account:            ******9166 - Checking Account
Taxpayer ID #: **-***8342                                                                               Blanket Bond:       $24,700,000.00 (per case limit)
Period Ending: 06/20/22                                                                                 Separate Bond: N/A

   1            2                           3                                            4                                              5                     6             7

 Trans.     {Ref #} /                                                                                                               Receipts         Disbursements    Checking
  Date      Check #         Paid To / Received From                      Description of Transaction                T-Code              $                   $       Account Balance
06/22/16      {118}      EMC Insurance                         Reimbursement of collision deductible [Claim #      1249-000                 500.00                               500.00
                                                               LA40-Z01106299; Policy 3E7-69-97; from
                                                               9/1/14-9/1/15; Loss date 11/12/14]
06/28/16      {61}       First Insurance Funding Corp.         Refund Disbursement                                 1141-000                 484.82                               984.82
06/30/16                 Rabobank, N.A.                        Bank and Technology Services Fee                    2600-000                                         10.00        974.82
07/29/16                 Rabobank, N.A.                        Bank and Technology Services Fee                    2600-000                                         10.00        964.82
08/17/16      101        Kansas Investigative Services, Inc.   Invoice dated 6/1/16 [Administrative Expenses                                                       706.33        258.49
                                                               per 7/27/16, Order].
                                                                  Fees                                650.33       3991-000                                                      258.49
                                                                  Expenses.                             56.00      3992-000                                                      258.49
08/30/16      {117}      Carl B. Davis, Trustee                Petty Cash                                          1229-000                  21.80                               280.29
08/31/16                 Rabobank, N.A.                        Bank and Technology Services Fee                    2600-000                                         10.00        270.29
09/06/16      {119}      Ball Pipe & supply Inc                Payment on ticket # TBIOCJ- Scrap metal             1290-000                 182.44                               452.73
                                                               recycling
09/30/16                 Rabobank, N.A.                        Bank and Technology Services Fee                    2600-000                                         10.00        442.73
10/13/16      {101}      Myers-Aubrey Co.                      Preference funds.                                   1241-000             10,159.44                            10,602.17
10/20/16      102        U.S. Bankruptcy Court                 Filing Fee (Motion to Sell #1; Docket no. 120;      2700-000                                        176.00    10,426.17
                                                               filed 10/20/16) [Check to be done from firm
                                                               account]
                                                               Voided on 10/21/16
10/21/16      102        U.S. Bankruptcy Court                 Filing Fee (Motion to Sell #1; Docket no. 120;      2700-000                                       -176.00    10,602.17
                                                               filed 10/20/16) [Check to be done from firm
                                                               account]
                                                               Voided: check issued on 10/20/16
10/31/16                 Rabobank, N.A.                        Bank and Technology Services Fee                    2600-000                                         10.00    10,592.17
11/23/16      {53}       Campbell Concrete Construction        Preference payment (partial).                       1141-000              3,500.00                            14,092.17
                         LLC
11/28/16                 Scott Auction                         Proceeds from Sale less administrative                                 198,951.02                            213,043.19
                                                               expenses.
              {40}                                                Sale Proceeds; 1999               5,200.00       1129-000                                                 213,043.19
                                                                  Parker Performance
                                                                  Trailer tandem axle
                                                                  dump bed trailer VIN
                                                                  13ZHD1227X1007764
                                                                  [Construction
                                                                  equipment].
              {24}                                                Sale Proceeds; 2007               5,500.00       1129-000                                                 213,043.19
                                                                  Denali XL (VIN ending is
                                                                  8242)

                                                                                                         Subtotals :                 $213,799.52                  $756.33
{} Asset reference(s)
                                                Case 16-10759                Doc# 618               Filed 07/20/22                Page 32 Printed:
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                                                                          Form 2                                                                              Page: 2

                                               Cash Receipts And Disbursements Record
Case Number:        16-10759                                                            Trustee:            Carl B. Davis (360110)
Case Name:          WB SERVICES, LLC                                                    Bank Name:          Mechanics Bank
                                                                                        Account:            ******9166 - Checking Account
Taxpayer ID #: **-***8342                                                               Blanket Bond:       $24,700,000.00 (per case limit)
Period Ending: 06/20/22                                                                 Separate Bond: N/A

   1            2                       3                                    4                                          5                     6           7

 Trans.     {Ref #} /                                                                                               Receipts         Disbursements    Checking
  Date      Check #        Paid To / Received From         Description of Transaction              T-Code              $                   $       Account Balance
              {40}                                    Sale Proceeds; 2009           3,950.00       1129-000                                               213,043.19
                                                      Continental Cargo V
                                                      nosed enclosed Trailer
                                                      30'- VIN
                                                      1NHUTWZ229Y010296
                                                      [Construction
                                                      equipment].
              {21}                                    Sale proceeds; 2009           8,250.00       1129-000                                               213,043.19
                                                      GMC Sierra (VIN ending
                                                      in 1466)
              {22}                                    Sale proceeds; 2009          12,900.00       1129-000                                               213,043.19
                                                      GMC Sierra (VIN ending
                                                      is 7373)
              {26}                                    Sale proceeds; 2011          10,000.00       1129-000                                               213,043.19
                                                      GMC Sierra (VIN ending
                                                      in 8969)
              {40}                                    Sale proceeds; 2006           2,500.00       1129-000                                               213,043.19
                                                      Continental Cargo
                                                      Express 12'x6' single
                                                      axle trailer VIN
                                                      5NHUEX2196W003306
                                                      [Construction
                                                      equipment].
              {40}                                    2012 Continental Cargo        2,900.00       1129-000                                               213,043.19
                                                      Tailwind 18' V-nose
                                                      cargo trailer VIN
                                                      5NHUTW425CY015734
                                                      [Construction
                                                      equipment].
              {28}                                    Sale proceeds; 2001           2,700.00       1129-000                                               213,043.19
                                                      GMC Sierra 2500 HD
                                                      (VIN ending in 4060)
              {29}                                    Sale proceeds; 2012          19,100.00       1129-000                                               213,043.19
                                                      GMC Sierra Denali (VIN
                                                      ending in 8579)
              {27}                                    Sale proceeds; 2004           2,500.00       1129-000                                               213,043.19
                                                      Ford F250 Super Duty
                                                      (VIN ending in 3744)
              {30}                                    Sale proceeds; 2013          12,500.00       1129-000                                               213,043.19
                                                      Acura MDX (VIN ending

                                                                                        Subtotals :                          $0.00                $0.00
{} Asset reference(s)
                                            Case 16-10759        Doc# 618          Filed 07/20/22                 Page 33 Printed:
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                                                                                Form 2                                                                                 Page: 3

                                                   Cash Receipts And Disbursements Record
Case Number:        16-10759                                                                    Trustee:            Carl B. Davis (360110)
Case Name:          WB SERVICES, LLC                                                            Bank Name:          Mechanics Bank
                                                                                                Account:            ******9166 - Checking Account
Taxpayer ID #: **-***8342                                                                       Blanket Bond:       $24,700,000.00 (per case limit)
Period Ending: 06/20/22                                                                         Separate Bond: N/A

   1            2                           3                                     4                                             5                     6            7

 Trans.     {Ref #} /                                                                                                       Receipts         Disbursements    Checking
  Date      Check #         Paid To / Received From              Description of Transaction                T-Code              $                   $       Account Balance
                                                            in 1590)
              {14}                                          Sale proceeds; 2015            36,500.00       1129-000                                                213,043.19
                                                            Chevy Silverado (VIN
                                                            ending in 1766)
              {16}                                          Sale proceeds; 2015            37,000.00       1129-000                                                213,043.19
                                                            Chevy Silverado (VIN
                                                            ending in 0733)
              {15}                                          Sale proceeds; 2015            32,000.00       1129-000                                                213,043.19
                                                            Chevy Silverado (VIN
                                                            ending in 2002)
              {18}                                          Sale proceeds; 2015 Kia          8,800.00      1129-000                                                213,043.19
                                                            Optima (VIN ending in
                                                            3805)
              {19}                                          Sale proceeds; 2015 Kia          7,400.00      1129-000                                                213,043.19
                                                            Optima (Vin ending in
                                                            7133)
              {40}                                          Sale proceeds; 2015              3,900.00      1129-000                                                213,043.19
                                                            Continental Cargo
                                                            Tailwind 19.5' x 7' v-nose
                                                            cargo trailer VIN
                                                            5NHUTW629FY022011
                                                            [Construction
                                                            equipments].
              {40}                                          Sale proceeds; 2015              4,000.00      1129-000                                                213,043.19
                                                            Continental Cargo
                                                            Tailwind 19.5' x 7' v-nose
                                                            cargo trailer VIN
                                                            5NHUTW620FY022012
                                                            [Construction
                                                            equipments].
                            Scott Auction                   Advertising and                -2,768.98       3620-000                                                213,043.19
                                                            expenses.
                            Scott Auction                   Auctioneers commission.       -15,880.00       3610-000                                                213,043.19
11/30/16                 Rabobank, N.A.                   Bank and Technology Services Fee                 2600-000                                        26.55   213,016.64
12/06/16      {53}       Campbell Concrete Construction   Preference payment.                              1141-000              3,500.00                          216,516.64
                         LLC
12/08/16      {121}      Steel Fabrications, Inc          Payment on Preference Claim [settlement].        1241-000                 940.62                         217,457.26
12/13/16      {122}      Nebraska Crane Inc               Preference Settlement                            1241-000              2,000.00                          219,457.26
12/16/16      {116}      Worldwide Pipe & Supply          Preference Payment                               1241-000              7,946.06                          227,403.32

                                                                                                 Subtotals :                  $14,386.68                  $26.55
{} Asset reference(s)
                                                Case 16-10759          Doc# 618            Filed 07/20/22                 Page 34 Printed:
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                                                      Cash Receipts And Disbursements Record
Case Number:         16-10759                                                                            Trustee:            Carl B. Davis (360110)
Case Name:           WB SERVICES, LLC                                                                    Bank Name:          Mechanics Bank
                                                                                                         Account:            ******9166 - Checking Account
Taxpayer ID #: **-***8342                                                                                Blanket Bond:       $24,700,000.00 (per case limit)
Period Ending: 06/20/22                                                                                  Separate Bond: N/A

   1            2                            3                                           4                                               5                     6            7

 Trans.     {Ref #} /                                                                                                                Receipts         Disbursements    Checking
  Date      Check #          Paid To / Received From                     Description of Transaction                 T-Code              $                   $       Account Balance
12/16/16      {78}        Westar Energy                        Preference                                           1141-000              8,669.43                          236,072.75
12/19/16      {123}       IFBOA Workers Compensation           Good Experience Return Check                         1290-000                 184.04                         236,256.79
                          Safety Group Program
12/30/16                  Rabobank, N.A.                       Bank and Technology Services Fee                     2600-000                                       320.52   235,936.27
01/03/17      {53}        Campbell Concrete Construction       Preference payment.                                  1141-000              5,943.25                          241,879.52
                          LLC
01/31/17                  Rabobank, N.A.                       Bank and Technology Services Fee                     2600-000                                       369.61   241,509.91
02/15/17      {127}       Security Distributors                Payment for Namee Invoice                            1290-000              2,471.00                          243,980.91
02/28/17                  Rabobank, N.A.                       Bank and Technology Services Fee                     2600-000                                       325.63   243,655.28
03/24/17      103         Hinkle Law Firm LLC                  Fees for termination of 401K per 3/15/17,            3991-000                                    2,471.00    241,184.28
                                                               Order [Dec. 2, 2016, invoice #228459; Client #
                                                               16508 00010 ESN].
03/31/17                  Rabobank, N.A.                       Bank and Technology Services Fee                     2600-000                                       361.78   240,822.50
04/28/17      104         Allen, Gibbs & Houlik, LC            Preparation of 2016 W-2's [Invoice no.:              3991-000                                       597.00   240,225.50
                                                               911824, dated: 2/23/17] (per 4/3/17, order).
04/28/17                  Rabobank, N.A.                       Bank and Technology Services Fee                     2600-000                                       323.29   239,902.21
05/19/17      {119}       Ball Pipe & Supply Inc               Scrap metal recycling: Ticket # TBJAIW;              1290-000                 144.20                         240,046.41
                                                               4/2517.
05/31/17       {8}        Simmons Bank                         Balance in Bank Account                              1129-000             35,813.71                          275,860.12
05/31/17                  Rabobank, N.A.                       Bank and Technology Services Fee                     2600-000                                       379.80   275,480.32
06/16/17      105         Allen, Gibbs & Houlik, LC            Additional Svcs- 2016 W-2's [Invoice no.:            3991-000                                       293.50   275,186.82
                                                               912205, dated: 3/20/17] (per 5/25/17, order).
06/28/17      {68}        Interstates Construction Services,   Settlement on Compromise                             1141-000             87,531.72                          362,718.54
                          Inc.
06/30/17                  Rabobank, N.A.                       Bank and Technology Services Fee                     2600-000                                       398.57   362,319.97
07/05/17      {52}        Brand Electric, Inc                  Preference-Compromise and Settlement                 1141-000             19,000.00                          381,319.97
07/19/17      {58}        Dean E. Norris, Inc.                 Preference-Compromise and Settlement                 1141-000              7,434.33                          388,754.30
07/19/17      {97}        Cogent, Inc.                         Preference-Compromise and Settlement                 1241-000              6,790.00                          395,544.30
07/31/17                  Rabobank, N.A.                       Bank and Technology Services Fee                     2600-000                                       530.86   395,013.44
08/04/17      {99}        Matheson Tri-Gas                     Preference Settlement                                1241-000             10,000.00                          405,013.44
08/23/17      106         Davis & Jack, L.L.C.                 Attorney for Trustee Fees and Expenses to                                                       59,963.52    345,049.92
                                                               Kenneth H Jack, per 8/9/17, order.
                                                                  Attorney for Trustee fees         59,726.37       3110-000                                                345,049.92
                                                                  Attorney for Trustee                237.15        3120-000                                                345,049.92
                                                                  Expenses
08/31/17                  Rabobank, N.A.                       Bank and Technology Services Fee                     2600-000                                       619.29   344,430.63
09/15/17      107         Cecil O'Brate                        Auction proceeds and expenses per 9/1/17,            4210-002                                   59,763.33    284,667.30
                                                               Order and Settlement Agreement.

                                                                                                           Subtotals :                $183,981.68        $126,717.70
{} Asset reference(s)
                                                 Case 16-10759               Doc# 618               Filed 07/20/22                 Page 35 Printed:
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                                                       Cash Receipts And Disbursements Record
Case Number:        16-10759                                                                        Trustee:            Carl B. Davis (360110)
Case Name:          WB SERVICES, LLC                                                                Bank Name:          Mechanics Bank
                                                                                                    Account:            ******9166 - Checking Account
Taxpayer ID #: **-***8342                                                                           Blanket Bond:       $24,700,000.00 (per case limit)
Period Ending: 06/20/22                                                                             Separate Bond: N/A

   1            2                           3                                       4                                               5                     6            7

 Trans.     {Ref #} /                                                                                                           Receipts         Disbursements    Checking
  Date      Check #         Paid To / Received From                  Description of Transaction                T-Code              $                   $       Account Balance
09/29/17                 Rabobank, N.A.                     Bank and Technology Services Fee                   2600-000                                       467.43   284,199.87
10/29/17      {64}       Habco, Inc.                        Preference payment per 10/6/17, compromise         1141-000              5,000.00                          289,199.87
                                                            (no. 10).
10/31/17                 Rabobank, N.A.                     Bank and Technology Services Fee                   2600-000                                       436.03   288,763.84
11/06/17      {62}       Gilbert Industries Inc             Settlement on preference payments.                 1141-000             62,000.00                          350,763.84
11/30/17                 Rabobank, N.A.                     Bank and Technology Services Fee                   2600-000                                       483.71   350,280.13
12/09/17      {127}      Security Distributors, Inc.        Refund due to overpayment of invoice.              1290-000              1,683.50                          351,963.63
12/09/17      108        Davis & Jack, L.L.C.               Attorney fees and expenses per 11/29/17,                                                      24,764.36    327,199.27
                                                            order.
                                                               Attorney fees per               24,438.36       3110-000                                                327,199.27
                                                               11/29/17, Order.
                                                               Attorney expenses per               326.00      3120-000                                                327,199.27
                                                               11/29/17, order.
12/22/17      {70}       Kenny Pipe & Supply, Inc.          Preference Settlement                              1141-000             75,000.00                          402,199.27
12/29/17                 Rabobank, N.A.                     Bank and Technology Services Fee                   2600-000                                       486.13   401,713.14
01/04/18      {57}       D & K Tanks, LLC                   Preference Settlement                              1141-000             20,000.00                          421,713.14
01/17/18      {109}      Swanson Flo Co.                    Preference Payment (Judgment)                      1241-000             11,820.00                          433,533.14
01/31/18                 Rabobank, N.A.                     Bank and Technology Services Fee                   2600-000                                       667.88   432,865.26
02/21/18      {94}       Adkins Energy, LLC                 Preference Settlement (Kevin Kaiser-17-5035)       1241-000             14,000.00                          446,865.26
02/28/18                 Rabobank, N.A.                     Bank and Technology Services Fee                   2600-000                                       584.46   446,280.80
03/13/18      {93}       FCX Performance, Inc               Preference Settlement                              1241-000              5,000.00                          451,280.80
03/13/18      {75}       Tranter, Inc                       Preference Settlement                              1141-000           115,000.00                           566,280.80
03/28/18      109        Kuckelman & Stockemer              Accountant fees per 3/14/18, order [Invoice        3410-000                                    2,950.00    563,330.80
                                                            #20774; dated 12/7/17; period:11/14-
03/30/18                 Rabobank, N.A.                     Bank and Technology Services Fee                   2600-000                                       728.21   562,602.59
04/23/18      {60}       Curtiss-Wright                     Preference Settlement                              1141-000             40,000.00                          602,602.59
04/30/18                 Rabobank, N.A.                     Bank and Technology Services Fee                   2600-000                                       790.34   601,812.25
05/31/18                 Rabobank, N.A.                     Bank and Technology Services Fee                   2600-000                                       952.25   600,860.00
06/21/18      {66}       IntegroEnergy Group                Preference Settlment                               1141-000           145,000.00                           745,860.00
06/21/18      {103}      Professional Engineering           Preference Settlement                              1241-000             20,000.00                          765,860.00
                         Consultants, PA
06/21/18      {124}      Wheeler Services, Inc.             Preference Settlement                              1241-000             11,341.14                          777,201.14
06/21/18      110        Kuckelman & Stockemer              Accountant fees per 6/4/18, Order [Invoice         3410-000                                       750.00   776,451.14
                                                            dated 2/12/18]
06/29/18      {74}       Hinkle Law Firm, LLC               Preference Settlement-Sulzer Pumps Solutions 1141-000                   40,500.00                          816,951.14
06/29/18                 Rabobank, N.A.                     Bank and Technology Services Fee                   2600-000                                       869.18   816,081.96
07/02/18      111        Davis & Jack, L.L.C.               Attorney for Trustee fees per 6/21/18, order       3110-000                                   32,340.20    783,741.76


                                                                                                     Subtotals :                 $566,344.64            $67,270.18
{} Asset reference(s)
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                                                    Cash Receipts And Disbursements Record
Case Number:        16-10759                                                                           Trustee:            Carl B. Davis (360110)
Case Name:          WB SERVICES, LLC                                                                   Bank Name:          Mechanics Bank
                                                                                                       Account:            ******9166 - Checking Account
Taxpayer ID #: **-***8342                                                                              Blanket Bond:       $24,700,000.00 (per case limit)
Period Ending: 06/20/22                                                                                Separate Bond: N/A

   1            2                            3                                          4                                              5                     6            7

 Trans.     {Ref #} /                                                                                                              Receipts         Disbursements    Checking
  Date      Check #            Paid To / Received From                Description of Transaction                  T-Code              $                   $       Account Balance
                                                              [Fees $32,340.20; Exps $0].
07/24/18      {100}      Mid-Tec                              Partial Preference Settlement                       1241-000             53,000.00                          836,741.76
07/31/18                 Rabobank, N.A.                       Bank and Technology Services Fee                    2600-000                                    1,218.63    835,523.13
08/31/18                 Rabobank, N.A.                       Bank and Technology Services Fee                    2600-000                                    1,241.83    834,281.30
09/28/18                 Rabobank, N.A.                       Bank and Technology Services Fee                    2600-000                                       639.99   833,641.31
10/31/18                 Rabobank, N.A.                       Bank and Technology Services Fee                    2600-000                                       753.70   832,887.61
11/26/18      112        Davis & Jack, L.L.C.                 Attorney for Trustee Fees ($13,626.24) &                                                       13,918.24    818,969.37
                                                              Expenses ($292) per 11/13/18, Order.
                                                                 Attorney for Trustee fees       13,626.24        3110-000                                                818,969.37
                                                                 per 11/13/18. Order.
                                                                 Attorney for Trustee                 292.00      3120-000                                                818,969.37
                                                                 Expenses per 11/13/18,
                                                                 Order.
11/30/18                 Rabobank, N.A.                       Bank and Technology Services Fee                    2600-000                                       684.18   818,285.19
12/05/18      {105}      RIX Industries                       Preference Settlement                               1241-000             10,000.00                          828,285.19
12/05/18      {82}       Best Supply Co., Inc.                Preference Settlement                               1241-000              1,000.00                          829,285.19
12/05/18      {51}       Born, Inc.                           Preference Settlement                               1142-000             40,000.00                          869,285.19
12/31/18                 Rabobank, N.A.                       Bank and Technology Services Fee                    2600-000                                       682.28   868,602.91
01/22/19      {100}      Mid-Tec                              Partial Preference Settlement (Final)               1241-000              2,578.96                          871,181.87
01/31/19                 Rabobank, N.A.                       Bank and Technology Services Fee                    2600-000                                       785.84   870,396.03
02/22/19      {87}       Hinkle Law Office                    Preferenece Settlement-Control Application &        1241-000              2,500.00                          872,896.03
                                                              Maintenance, Inc.
02/26/19      {96}       Kice Industries, Inc.                Preference Settlement                               1241-000              5,000.00                          877,896.03
02/28/19                 Rabobank, N.A.                       Bank and Technology Services Fee                    2600-000                                       668.04   877,227.99
03/04/19      {126}      F& H Insulations Saels & Services,   Preference Settlement                               1241-000              5,000.00                          882,227.99
                         Inc
03/04/19      {88}       Coyle Supply, Inc Granite CIty       Preference Settlement                               1241-000              5,000.00                          887,227.99
03/18/19      113        Kuckelman & Stockemer                Accountant fees per 3/8/19, order. [Invoice         3410-000                                   11,950.00    875,277.99
                                                              #22157; dated 2/8/19]
03/29/19                 Rabobank, N.A.                       Bank and Technology Services Fee                    2600-000                                       700.93   874,577.06
04/30/19                 Rabobank, N.A.                       Bank and Technology Services Fee                    2600-000                                       766.75   873,810.31
05/31/19                 Rabobank, N.A.                       Bank and Technology Services Fee                    2600-000                                       742.14   873,068.17
06/28/19                 Rabobank, N.A.                       Bank and Technology Services Fee                    2600-000                                       669.74   872,398.43
07/31/19                 Rabobank, N.A.                       Bank and Technology Services Fee                    2600-000                                       788.74   871,609.69
08/12/19      114        Davis & Jack, L.L.C.                 Attorney for Trustee fees per 7/31/19, Order.       3110-000                                    7,081.32    864,528.37
08/30/19                 Rabobank, N.A.                       Bank and Technology Services Fee                    2600-000                                       713.48   863,814.89
09/30/19                 Rabobank, N.A.                       Bank and Technology Services Fee                    2600-000                                       686.31   863,128.58


                                                                                                        Subtotals :                 $124,078.96            $44,692.14
{} Asset reference(s)
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                                                     Cash Receipts And Disbursements Record
Case Number:        16-10759                                                                      Trustee:            Carl B. Davis (360110)
Case Name:          WB SERVICES, LLC                                                              Bank Name:          Mechanics Bank
                                                                                                  Account:            ******9166 - Checking Account
Taxpayer ID #: **-***8342                                                                         Blanket Bond:       $24,700,000.00 (per case limit)
Period Ending: 06/20/22                                                                           Separate Bond: N/A

   1            2                          3                                       4                                              5                     6            7

 Trans.     {Ref #} /                                                                                                         Receipts         Disbursements    Checking
  Date      Check #         Paid To / Received From               Description of Transaction                 T-Code              $                   $       Account Balance
10/31/19                 Mechanics Bank                   Bank and Technology Services Fee                   2600-000                                       780.39   862,348.19
11/29/19                 Mechanics Bank                   Bank and Technology Services Fee                   2600-000                                       661.52   861,686.67
12/31/19                 Mechanics Bank                   Bank and Technology Services Fee                   2600-000                                       779.07   860,907.60
01/31/20                 Bank and Technology Fee                                                             2600-000                                       729.24   860,178.36
02/04/20      115        Kuckelman & Stockemer            Accountant fees per 1/6/20, order [Invoice:        3410-000                                   5,887.50     854,290.86
                                                          23161; Dated 11/14/19]
02/28/20                 Bank and Technology Fee                                                             2600-000                                       654.51   853,636.35
08/11/20      {65}       Hajoca Corporation               Preference Settlement per 12/13/19, order          1141-000              6,000.00                          859,636.35
08/31/20                 Mechanics Bank                   Bank and Technology Services Fee                   2600-000                                   1,324.37     858,311.98
09/30/20                 Mechanics Bank                   Bank and Technology Services Fee                   2600-000                                   1,463.49     856,848.49
10/30/20                 Mechanics Bank                   Bank and Technology Services Fee                   2600-000                                   1,369.55     855,478.94
11/30/20                 Mechanics Bank                   Bank and Technology Services Fee                   2600-000                                   1,321.78     854,157.16
12/22/20                 Transition Transfer Debit        Transition Transfer Debit                          9999-000                                 854,157.16            0.00

                                                                                ACCOUNT TOTALS                                1,108,591.48        1,108,591.48             $0.00
                                                                                       Less: Bank Transfers                            0.00           854,157.16
                                                                                Subtotal                                      1,108,591.48            254,434.32
                                                                                       Less: Payments to Debtors                                              0.00
                                                                                NET Receipts / Disbursements                 $1,108,591.48        $254,434.32




{} Asset reference(s)
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                                                Cash Receipts And Disbursements Record
Case Number:        16-10759                                                                   Trustee:            Carl B. Davis (360110)
Case Name:          WB SERVICES, LLC                                                           Bank Name:          People's United Bank
                                                                                               Account:            ******8455 - Checking Account
Taxpayer ID #: **-***8342                                                                      Blanket Bond:       $24,700,000.00 (per case limit)
Period Ending: 06/20/22                                                                        Separate Bond: N/A

   1            2                        3                                   4                                                 5                     6           7

 Trans.     {Ref #} /                                                                                                      Receipts         Disbursements    Checking
  Date      Check #         Paid To / Received From          Description of Transaction                   T-Code              $                   $       Account Balance
12/22/20                 TRANSFER FROM DEPOSIT        TRANSFER FROM DEPOSIT SYSTEM                        9999-000           854,157.16                          854,157.16
                         SYSTEM ACCOUNT ******2572    ACCOUNT ******2572
12/23/20     10116       Carl B. Davis                Expenses per 12/7/20, order.                        2200-000                                    9,203.72   844,953.44
12/31/20                 People's United Bank         Bank and Technology Services Fee                    2600-000                                    1,498.48   843,454.96
01/29/21                 People's United Bank         Bank and Technology Services Fee                    2600-000                                    1,306.65   842,148.31
02/26/21                 People's United Bank         Bank and Technology Services Fee                    2600-000                                    1,259.75   840,888.56
03/31/21                 People's United Bank         Bank and Technology Services Fee                    2600-000                                    1,482.49   839,406.07
04/09/21      {125}      IFBOA WORKERS                2020 Good Experience Return                         1290-000              1,222.44                         840,628.51
                         COMPENSATION SAFETY GROUP
                         PROGRAM
04/30/21                 People's United Bank         Bank and Technology Services Fee                    2600-000                                    1,346.45   839,282.06
09/23/21                 TRANSFER TO DEPOSIT SYSTEM TRANSFER TO DEPOSIT SYSTEM                            9999-000                                 839,282.06           0.00
                         ACCOUNT ******2317           ACCOUNT ******2317

                                                                          ACCOUNT TOTALS                                     855,379.60            855,379.60          $0.00
                                                                                     Less: Bank Transfers                    854,157.16            839,282.06
                                                                          Subtotal                                              1,222.44             16,097.54
                                                                                     Less: Payments to Debtors                                            0.00
                                                                          NET Receipts / Disbursements                         $1,222.44           $16,097.54




{} Asset reference(s)
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                                                      Cash Receipts And Disbursements Record
Case Number:        16-10759                                                                       Trustee:            Carl B. Davis (360110)
Case Name:          WB SERVICES, LLC                                                               Bank Name:          Metropolitan Commercial Bank
                                                                                                   Account:            ******3801 - Checking Account
Taxpayer ID #: **-***8342                                                                          Blanket Bond:       $24,700,000.00 (per case limit)
Period Ending: 06/20/22                                                                            Separate Bond: N/A

   1            2                            3                                     4                                               5                     6            7

 Trans.     {Ref #} /                                                                                                          Receipts         Disbursements    Checking
  Date      Check #         Paid To / Received From                Description of Transaction                 T-Code              $                   $       Account Balance
09/23/21                 Transition Transfer Credit        Transition Transfer Credit                         9999-000           839,282.06                           839,282.06
10/12/21     20117       U.S. Bankruptcy Court             Dividend paid 100.00% on $10,850.00, Clerk         2700-000                                   10,850.00    828,432.06
                                                           of the Court Costs (includes adversary and
                                                           other filing fees); Reference: COURT COSTS
                                                           per dkt 567 filed 8/10/21
10/12/21     20118       Kuckelman & Stockemer             Dividend paid 100.00% on $30,647.50,               3410-000                                    9,110.00    819,322.06
                                                           Accountant for Trustee Fees (Other Firm);
                                                           Reference:
10/12/21     20119       WITHHOLDING TAX                   Dividend paid 100.00% on $9,601.28 for KS          5300-000                                    9,601.28    809,720.78
                                                           Income Tax.
10/12/21     20120       Johna K Pierce                    Distribution Check; RE: Claim #10 -1; Filed:       5300-000                                       548.92   809,171.86
                                                           $839.98; Reference: WAGES 8342.
10/12/21     20121       Eric Johnson                      Distribution Check; RE: Claim #17 -1; Filed:       5300-000                                    2,607.46    806,564.40
                                                           $3,990.00; Reference: WAGES.
                                                           Voided on 10/29/21
10/12/21     20122       Jason Gates                       Distribution Check; RE: Claim #27 -1; Filed:       5300-000                                    3,687.32    802,877.08
                                                           $5,642.42; Reference: WAGES.
10/12/21     20123       Curtis Dean                       Distribution Check; RE: Claim #29 -1; Filed:       5300-000                                    2,874.16    800,002.92
                                                           $4,398.09; Reference: WAGES.
                                                           Voided on 01/28/22
10/12/21     20124       Joan Marie Taylor                 Distribution Check; RE: Claim #31 -1; Filed:       5300-000                                    2,531.71    797,471.21
                                                           $3,874.06; Reference: WAGES 0573.
                                                           Voided on 01/28/22
10/12/21     20125       Robert Gregory Taylor             Distribution Check; RE: Claim #32 -1; Filed:       5300-000                                    3,059.54    794,411.67
                                                           $4,681.78; Reference: WAGES.
                                                           Voided on 01/28/22
10/12/21     20126       Adam Belyamani                    Distribution Check; RE: Claim #34 -1; Filed:       5300-000                                    5,436.61    788,975.06
                                                           $8,319.22; Reference: WAGES.
10/12/21     20127       Gage Lemons                       Distribution Check; RE: Claim #40 -1; Filed:       5300-000                                    2,616.54    786,358.52
                                                           $4,003.89; Reference: WAGES.
                                                           Voided on 12/21/21
10/12/21     20128       Chris Pruitt                      Distribution Check; RE: Claim #41 -1; Filed:       5300-000                                    2,883.95    783,474.57
                                                           $4,413.08; Reference: WAGES.
10/12/21     20129       Brandon Peregrine                 Distribution Check; RE: Claim #50 -1; Filed:       5300-000                                    3,872.08    779,602.49
                                                           $5,925.14; Reference: WAGES.
10/12/21     20130       Thomas Woosley                    Distribution Check; RE: Claim #60 -1; Filed:       5300-000                                    2,777.38    776,825.11
                                                           $4,250.01; Reference: WAGES.
10/12/21     20131       Christopher Dale Carter           Distribution Check; RE: Claim #62 -1; Filed:       5300-000                                    6,741.19    770,083.92
                                                           $10,315.52; Reference: WAGES.

                                                                                                    Subtotals :                 $839,282.06            $69,198.14
{} Asset reference(s)
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                                                    Cash Receipts And Disbursements Record
Case Number:        16-10759                                                                      Trustee:            Carl B. Davis (360110)
Case Name:          WB SERVICES, LLC                                                              Bank Name:          Metropolitan Commercial Bank
                                                                                                  Account:            ******3801 - Checking Account
Taxpayer ID #: **-***8342                                                                         Blanket Bond:       $24,700,000.00 (per case limit)
Period Ending: 06/20/22                                                                           Separate Bond: N/A

   1            2                            3                                    4                                               5                     6           7

 Trans.     {Ref #} /                                                                                                         Receipts         Disbursements    Checking
  Date      Check #         Paid To / Received From               Description of Transaction                 T-Code              $                   $       Account Balance
10/12/21     20132       Jacob Dawson                     Distribution Check; RE: Claim #66 -1; Filed:       5300-000                                   1,243.74   768,840.18
                                                          $1,903.20; Reference: WAGES.
10/12/21     20133       Jeremiah Dawson                  Distribution Check; RE: Claim #67 -1; Filed:       5300-000                                   2,073.74   766,766.44
                                                          $3,173.27; Reference: WAGES.
10/12/21     20134       Keith Baldwin                    Distribution Check; RE: Claim #69 -1; Filed:       5300-000                                   3,672.67   763,093.77
                                                          $5,620.00; Reference: WAGES.
                                                          Voided on 01/25/22
10/12/21     20135       Summer Austin                    Distribution Check; RE: Claim #72 -1; Filed:       5300-000                                   1,531.94   761,561.83
                                                          $2,344.20; Reference: WAGES.
10/12/21     20136       Brandon Maloy                    Distribution Check; RE: Claim #78 -1; Filed:       5300-000                                   3,167.37   758,394.46
                                                          $4,846.78; Reference: WAGES.
                                                          Voided on 10/29/21
10/12/21     20137       Joseph Jackson                   Distribution Check; RE: Claim #79 -1; Filed:       5300-000                                   1,453.38   756,941.08
                                                          $2,224.00; Reference: WAGES.
10/12/21     20138       Kiel Robert Ulery                Distribution Check; RE: Claim #83 -1; Filed:       5300-000                                   2,611.31   754,329.77
                                                          $3,995.87; Reference: WAGES.
10/12/21     20139       Brook Bird                       Distribution Check; RE: Claim #91 -1; Filed:       5300-000                                   2,979.62   751,350.15
                                                          $4,559.48; Reference: WAGES.
10/12/21     20140       Andres Murillo                   Distribution Check; RE: Claim #97 -1; Filed:       5300-000                                   2,595.71   748,754.44
                                                          $3,972.00; Reference: WAGES.
                                                          Stopped on 02/03/22
10/12/21     20141       Eric P Mork                      Distribution Check; RE: Claim #98 -1; Filed:       5300-000                                   8,397.47   740,356.97
                                                          $12,850.00; Reference: WAGES.
10/12/21     20142       James Jackson                    Distribution Check; RE: Claim #103 -1; Filed:      5300-000                                   3,681.82   736,675.15
                                                          $5,634.00; Reference: ESTIMATED.
10/12/21     20143       Eric Stewart                     Distribution Check; RE: Claim #107 -1; Filed:      5300-000                                   2,344.72   734,330.43
                                                          $3,587.95; Reference: WAGES.
10/12/21     20144       Dillon King                      Distribution Check; RE: Claim #108 -1; Filed:      5300-000                                   3,472.70   730,857.73
                                                          $5,314.00; Reference: WAGES.
10/12/21     20145       Loren Michael Tripp              Distribution Check; RE: Claim #110 -1; Filed:      5300-000                                   2,402.56   728,455.17
                                                          $3,676.45; Reference: WAGES.
10/12/21     20146       Tim Livesay                      Distribution Check; RE: Claim #118 -1; Filed:      5300-000                                   1,960.50   726,494.67
                                                          $3,000.00; Reference: WAGES.
                                                          Stopped on 02/03/22
10/12/21     20147       Bruce Helmick                    Distribution Check; RE: Claim #122 -1; Filed:      5300-000                                   3,440.02   723,054.65
                                                          $5,264.00; Reference: WAGES.
                                                          Stopped on 12/21/21
10/12/21     20148       Richard Burkhart                 Distribution Check; RE: Claim #126 -1; Filed:      5300-000                                   1,219.30   721,835.35
                                                          $1,865.79; Reference: WAGES.

                                                                                                   Subtotals :                        $0.00           $48,248.57
{} Asset reference(s)
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                                                  Cash Receipts And Disbursements Record
Case Number:        16-10759                                                                    Trustee:            Carl B. Davis (360110)
Case Name:          WB SERVICES, LLC                                                            Bank Name:          Metropolitan Commercial Bank
                                                                                                Account:            ******3801 - Checking Account
Taxpayer ID #: **-***8342                                                                       Blanket Bond:       $24,700,000.00 (per case limit)
Period Ending: 06/20/22                                                                         Separate Bond: N/A

   1            2                          3                                    4                                               5                     6            7

 Trans.     {Ref #} /                                                                                                       Receipts         Disbursements    Checking
  Date      Check #         Paid To / Received From             Description of Transaction                 T-Code              $                   $       Account Balance
10/12/21     20149       Dawna Eldringhoff              Distribution Check; RE: Claim #127 -1; Filed:      5300-000                                   2,314.83     719,520.52
                                                        $3,542.20; Reference: WAGES.
                                                        Voided on 01/28/22
10/12/21     20150       Ron Beemiller                  Distribution Check; RE: Claim #128W-1; Filed:      5300-000                                   8,397.47     711,123.05
                                                        $12,850.00; Reference: WAGES.
                                                        Voided on 10/12/21
10/12/21     20150       Ron Beemiller                  Distribution Check; RE: Claim #128W-1; Filed:      5300-000                                   -8,397.47    719,520.52
                                                        $12,850.00; Reference: WAGES.
                                                        Voided: check issued on 10/12/21
10/12/21     20151       Julian Ariagno                 Distribution Check; RE: Claim #129W-1; Filed:      5300-000                                   7,924.93     711,595.59
                                                        $12,126.91; Reference: WAGES.
10/12/21     20152       Elizabeth Maury                Distribution Check; RE: Claim #132W-1; Filed:      5300-000                                   2,405.69     709,189.90
                                                        $3,681.24; Reference: WAGES.
10/12/21     20153       Caleb Shelton                  Distribution Check; RE: Claim #137 -1; Filed:      5300-000                                   4,149.72     705,040.18
                                                        $6,350.00; Reference: WAGES.
10/12/21     20154       Brandon Awtrey                 Distribution Check; RE: Claim #146B-2; Filed:      5300-000                                       190.84   704,849.34
                                                        $292.03; Reference: 6909.
                                                        Stopped on 02/03/22
10/12/21     20155       Marc Awtrey                    Distribution Check; RE: Claim #146C-2; Filed:      5300-000                                       402.38   704,446.96
                                                        $615.75; Reference: 4471.
10/12/21     20156       Nathan Baker                   Distribution Check; RE: Claim #146D-2; Filed:      5300-000                                       279.50   704,167.46
                                                        $427.71; Reference: 0787.
                                                        Voided on 01/28/22
10/12/21     20157       Jeffrey Becker                 Distribution Check; RE: Claim #146E-2; Filed:      5300-000                                       286.86   703,880.60
                                                        $438.96; Reference: 8189.
10/12/21     20158       Rodney Beek                    Distribution Check; RE: Claim #146F-2; Filed:      5300-000                                        34.47   703,846.13
                                                        $52.75; Reference: 5396.
                                                        Voided on 01/28/22
10/12/21     20159       Eugene Bonnell                 Distribution Check; RE: Claim #146G-2; Filed:      5300-000                                       113.28   703,732.85
                                                        $173.34; Reference: 2825.
10/12/21     20160       Dean Camper                    Distribution Check; RE: Claim #146H-2; Filed:      5300-000                                       221.72   703,511.13
                                                        $339.27; Reference: 7446.
                                                        Voided on 01/28/22
10/12/21     20161       Tory Cooley                    Distribution Check; RE: Claim #146I-2; Filed:      5300-000                                       214.24   703,296.89
                                                        $327.82; Reference: 7871.
                                                        Stopped on 02/03/22
10/12/21     20162       Juan Cruz                      Distribution Check; RE: Claim #146J-2; Filed:      5300-000                                        31.62   703,265.27
                                                        $48.39; Reference: 2348.
                                                        Stopped on 02/03/22

                                                                                                 Subtotals :                        $0.00           $18,570.08
{} Asset reference(s)
                                               Case 16-10759         Doc# 618              Filed 07/20/22                 Page 42 Printed:
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                                                   Cash Receipts And Disbursements Record
Case Number:        16-10759                                                                     Trustee:            Carl B. Davis (360110)
Case Name:          WB SERVICES, LLC                                                             Bank Name:          Metropolitan Commercial Bank
                                                                                                 Account:            ******3801 - Checking Account
Taxpayer ID #: **-***8342                                                                        Blanket Bond:       $24,700,000.00 (per case limit)
Period Ending: 06/20/22                                                                          Separate Bond: N/A

   1            2                           3                                    4                                               5                     6            7

 Trans.     {Ref #} /                                                                                                        Receipts         Disbursements    Checking
  Date      Check #         Paid To / Received From              Description of Transaction                 T-Code              $                   $       Account Balance
10/12/21     20163       Eric Ellis                      Distribution Check; RE: Claim #146K-2; Filed:      5300-000                                       190.84   703,074.43
                                                         $292.03; Reference: 9486.
10/12/21     20164       John Goeschel                   Distribution Check; RE: Claim #146M-2; Filed:      5300-000                                       247.16   702,827.27
                                                         $378.20; Reference: 7239.
10/12/21     20165       Charles Goodrich                Distribution Check; RE: Claim #146N-2; Filed:      5300-000                                       329.58   702,497.69
                                                         $504.33; Reference: 8067.
10/12/21     20166       Bryce Gould                     Distribution Check; RE: Claim #146O-2; Filed:      5300-000                                       114.48   702,383.21
                                                         $175.18; Reference: 7124.
                                                         Stopped on 02/03/22
10/12/21     20167       Shannon Hallowell               Distribution Check; RE: Claim #146P-2; Filed:      5300-000                                       106.61   702,276.60
                                                         $163.14; Reference: 4789.
10/12/21     20168       Dale Hammerschmidt              Distribution Check; RE: Claim #146Q-2; Filed:      5300-000                                       384.44   701,892.16
                                                         $588.27; Reference: 8801.
10/12/21     20169       Roger Hansen                    Distribution Check; RE: Claim #146R-2; Filed:      5300-000                                       205.06   701,687.10
                                                         $313.80; Reference: 4663.
10/12/21     20170       Kevin Houzenga                  Distribution Check; RE: Claim #146S-2; Filed:      5300-000                                       572.53   701,114.57
                                                         $876.09; Reference: 9646.
10/12/21     20171       Lance Johnson                   Distribution Check; RE: Claim #146T-2; Filed:      5300-000                                       228.88   700,885.69
                                                         $350.25; Reference: 8457.
10/12/21     20172       Dennis Kalp                     Distribution Check; RE: Claim #146U-2; Filed:      5300-000                                       123.41   700,762.28
                                                         $188.84; Reference: 7139.
10/12/21     20173       Rossner Landsbaum               Distribution Check; RE: Claim #146V-2; Filed:      5300-000                                       443.42   700,318.86
                                                         $678.54; Reference: 6490.
                                                         Voided on 01/28/22
10/12/21     20174       Hollie Lintz                    Distribution Check; RE: Claim #146W-2; Filed:      5300-000                                       191.25   700,127.61
                                                         $292.64; Reference: 8781.
                                                         Voided on 01/28/22
10/12/21     20175       Rick Malone                     Distribution Check; RE: Claim #146X-2; Filed:      5300-000                                       329.58   699,798.03
                                                         $504.33; Reference: 5643.
10/12/21     20176       Timothy Clyde Hunter            Distribution Check; RE: Claim #147 -1; Filed:      5300-000                                    4,051.70    695,746.33
                                                         $6,200.00; Reference: WAGES.
10/12/21     20177       Mike Morris                     Distribution Check; RE: Claim #146AA-2; Filed: 5300-000                                           321.34   695,424.99
                                                         $491.73; Reference: 2773.
                                                         Stopped on 02/03/22
10/12/21     20178       Kevin Rogers                    Distribution Check; RE: Claim #146DD-2;            5300-000                                       221.98   695,203.01
                                                         Filed: $339.68; Reference: 5993.
10/12/21     20179       Benjamin Root                   Distribution Check; RE: Claim #146EE-2; Filed: 5300-000                                           808.30   694,394.71
                                                         $1,236.90; Reference: 2163.
10/12/21     20180       Dan Rueger                      Distribution Check; RE: Claim #146FF-2; Filed:     5300-000                                       261.79   694,132.92

                                                                                                  Subtotals :                        $0.00             $9,132.35
{} Asset reference(s)
                                                Case 16-10759         Doc# 618              Filed 07/20/22                 Page 43 Printed:
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                                                    Cash Receipts And Disbursements Record
Case Number:        16-10759                                                                       Trustee:            Carl B. Davis (360110)
Case Name:          WB SERVICES, LLC                                                               Bank Name:          Metropolitan Commercial Bank
                                                                                                   Account:            ******3801 - Checking Account
Taxpayer ID #: **-***8342                                                                          Blanket Bond:       $24,700,000.00 (per case limit)
Period Ending: 06/20/22                                                                            Separate Bond: N/A

   1            2                          3                                        4                                              5                     6            7

 Trans.     {Ref #} /                                                                                                          Receipts         Disbursements    Checking
  Date      Check #         Paid To / Received From                Description of Transaction                 T-Code              $                   $       Account Balance
                                                           $400.60; Reference: 6930.
                                                           Voided on 01/28/22
10/12/21     20181       Virgil Schmidt                    Distribution Check; RE: Claim #146GG-2;            5300-000                                       209.35   693,923.57
                                                           Filed: $320.34; Reference: 9228.
10/12/21     20182       Dale Selman                       Distribution Check; RE: Claim #146HH-2;            5300-000                                        93.54   693,830.03
                                                           Filed: $143.15; Reference: 6694.
10/12/21     20183       Gene Siedenberg                   Distribution Check; RE: Claim #146II-2; Filed:     5300-000                                       268.90   693,561.13
                                                           $411.48; Reference: 4183.
10/12/21     20184       James Sleder                      Distribution Check; RE: Claim #146JJ-2; Filed:     5300-000                                        68.94   693,492.19
                                                           $105.50; Reference: 0533.
10/12/21     20185       Joe Supik                         Distribution Check; RE: Claim #146LL-2; Filed:     5300-000                                        40.61   693,451.58
                                                           $62.14; Reference: 7322.
                                                           Stopped on 02/03/22
10/12/21     20186       Scott Trego                       Distribution Check; RE: Claim #146OO-2;            5300-000                                       194.09   693,257.49
                                                           Filed: $297.00; Reference: 2860.
10/12/21     20187       Matthew Vogel                     Distribution Check; RE: Claim #146PP-2; Filed: 5300-000                                            93.16   693,164.33
                                                           $142.57; Reference: 4645.
                                                           Voided on 01/28/22
10/12/21     20188       Whit Walker                       Distribution Check; RE: Claim #146QQ-2;            5300-000                                        68.94   693,095.39
                                                           Filed: $105.50; Reference: 7588.
                                                           Voided on 01/28/22
10/12/21     20189       David Wheeler                     Distribution Check; RE: Claim #146RR-2;            5300-000                                       381.69   692,713.70
                                                           Filed: $584.06; Reference: 9134.
10/12/21     20190       Rick Wheeler                      Distribution Check; RE: Claim #146SS-2; Filed: 5300-000                                            84.02   692,629.68
                                                           $128.57; Reference: 1877.
10/12/21     20191       INTERNAL REVENUE SVC              Dividend paid 52.44% on $1,023.36 for FUTA.        5800-000                                       536.71   692,092.97
                                                           Form 940 for year 2021
10/12/21     20192       KANSAS DEPARTMENT OF              Dividend paid 52.44% on $5,184.71 for KS           5800-000                                    2,719.19    689,373.78
                         LABOR                             SUTA.
10/12/21     20193       Kansas Department of Revenue      Distribution Check; RE: Claim #21P-1; Filed:       5800-000                                   13,328.29    676,045.49
                                                           $25,413.32; Reference: .
10/12/21     20194       Wisconsin Department of Revenue   Distribution Check; RE: Claim #47 -1; Filed:       5800-000                                       488.37   675,557.12
                                                           $931.19; Reference: 7265 / 8342.
10/12/21     20195       Internal Revenue Service          Distribution Check; RE: Claim #57P-1; Filed:       5800-000                                 534,803.64     140,753.48
                                                           $1,019,721.21; Reference: .
10/12/21     20196       Office of the County Counselor    Distribution Check; RE: Claim #88 -1; Filed:       5800-000                                        27.75   140,725.73
                                                           $52.91; Reference: 8342.
10/12/21     20197       Iowa Department of Revenue        Distribution Check; RE: Claim #113P-1; Filed:      5800-000                                    4,238.06    136,487.67
                                                           $8,080.80; Reference: 0851 WITHHOLDING

                                                                                                    Subtotals :                        $0.00       $557,645.25
{} Asset reference(s)
                                               Case 16-10759            Doc# 618              Filed 07/20/22                 Page 44 Printed:
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                                                  Cash Receipts And Disbursements Record
Case Number:        16-10759                                                                         Trustee:            Carl B. Davis (360110)
Case Name:          WB SERVICES, LLC                                                                 Bank Name:          Metropolitan Commercial Bank
                                                                                                     Account:            ******3801 - Checking Account
Taxpayer ID #: **-***8342                                                                            Blanket Bond:       $24,700,000.00 (per case limit)
Period Ending: 06/20/22                                                                              Separate Bond: N/A

   1            2                         3                                          4                                               5                     6            7

 Trans.     {Ref #} /                                                                                                            Receipts         Disbursements    Checking
  Date      Check #         Paid To / Received From                  Description of Transaction                 T-Code              $                   $       Account Balance
                                                             6/30/15.
10/12/21     20198       Illinois Department of Employment   Distribution Check; RE: Claim #148 -1; Filed:      5800-000                                    1,555.12    134,932.55
                         Security                            $2,965.18; Reference: 8342.
10/12/21     20199       Ohio Department of Taxation         Distribution Check; RE: Claim #151P-1; Filed:      5800-000                                    1,049.18    133,883.37
                                                             $2,000.50; Reference: 2016 TAXES.
10/12/21     20200       IL Dept of Revenue Bankruptcy       Distribution Check; RE: Claim #158P-1; Filed:      5800-000                                       978.00   132,905.37
                         Section                             $1,864.78; Reference: 8342 WITHHOLDING.
10/12/21     20201       Nebraska Department of Revenue      Distribution Check; RE: Claim #166 -1; Filed:      5800-000                                    3,050.90    129,854.47
                                                             $5,817.21; Reference: 1984.
                                                             Voided on 10/29/21
10/12/21     20202       Carl B. Davis                       COMBINED CHECK FOR TRUSTEE                                                                    56,433.82     73,420.65
                                                             COMPENSATION ($55,310.99) & EXPENSES
                                                             ($1,122.83)
                                                                Dividend paid 100.00%           55,310.99       2100-000                                                 73,420.65
                                                                on $55,310.99; Claim# ;
                                                                Filed: $55,310.99
                                                                Dividend paid 100.00%            1,122.83       2200-000                                                 73,420.65
                                                                on $10,326.55; Claim# ;
                                                                Filed: $10,326.55
10/12/21     20203       INTERNAL REVENUE SERVICE            Combined Check for Claims#et_al (see letter)                                                  64,639.87        8,780.78
                                                                Dividend paid 100.00%           11,905.59       5300-000                                                    8,780.78
                                                                on $11,905.59; Claim# ;
                                                                Filed: $0.00
                                                                Dividend paid 100.00%            2,784.38       5300-000                                                    8,780.78
                                                                on $2,784.38; Claim# ;
                                                                Filed: $0.00
                                                                Dividend paid 100.00%            1,752.93       5300-000                                                    8,780.78
                                                                on $1,752.93; Claim# ;
                                                                Filed: $0.00
                                                                Dividend paid 100.00%           40,492.66       5300-000                                                    8,780.78
                                                                on $40,492.66; Claim# ;
                                                                Filed: $0.00
                                                                Dividend paid 52.44%                60.59       5800-000                                                    8,780.78
                                                                on $115.53; Claim# ;
                                                                Filed: $0.00
                                                                Dividend paid 52.44%               259.08       5800-000                                                    8,780.78
                                                                on $494.00; Claim# ;
                                                                Filed: $0.00
                                                                Dividend paid 52.44%             5,984.93       5800-000                                                    8,780.78

                                                                                                      Subtotals :                        $0.00       $127,706.89
{} Asset reference(s)
                                              Case 16-10759                Doc# 618             Filed 07/20/22                 Page 45 Printed:
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                                                   Cash Receipts And Disbursements Record
Case Number:        16-10759                                                                            Trustee:            Carl B. Davis (360110)
Case Name:          WB SERVICES, LLC                                                                    Bank Name:          Metropolitan Commercial Bank
                                                                                                        Account:            ******3801 - Checking Account
Taxpayer ID #: **-***8342                                                                               Blanket Bond:       $24,700,000.00 (per case limit)
Period Ending: 06/20/22                                                                                 Separate Bond: N/A

   1            2                           3                                         4                                                 5                     6            7

 Trans.     {Ref #} /                                                                                                               Receipts         Disbursements    Checking
  Date      Check #         Paid To / Received From                 Description of Transaction                     T-Code              $                   $       Account Balance
                                                               on $11,411.59; Claim# ;
                                                               Filed: $0.00
                                                               Dividend paid 52.44%              1,399.71          5800-000                                                    8,780.78
                                                               on $2,668.85; Claim# ;
                                                               Filed: $0.00
10/12/21     20204       TDOR co Attorney General BK Unit   Combined for 52.44%: Claims#161P-1                                                                    383.31       8,397.47
                                                            ($294.59 of $561.70) and 162 -1 ($88.72 of
                                                            $169.17).
                                                               Dividend paid 52.44%                294.59          5800-000                                                    8,397.47
                                                               on $561.70; Claim#
                                                               161P-1; Filed: $561.70
                                                               Dividend paid 52.44%                 88.72          5800-000                                                    8,397.47
                                                               on $169.17; Claim# 162
                                                               -1; Filed: $169.17
10/29/21     20121       Eric Johnson                       Distribution Check; RE: Claim #17 -1; Filed:           5300-000                                   -2,607.46    11,004.93
                                                            $3,990.00; Reference: WAGES.
                                                            Voided: check issued on 10/12/21
10/29/21     20136       Brandon Maloy                      Distribution Check; RE: Claim #78 -1; Filed:           5300-000                                   -3,167.37    14,172.30
                                                            $4,846.78; Reference: WAGES.
                                                            Voided: check issued on 10/12/21
10/29/21     20201       Nebraska Department of Revenue     Distribution Check; RE: Claim #166 -1; Filed:          5800-000                                   -3,050.90    17,223.20
                                                            $5,817.21; Reference: 1984.
                                                            Voided: check issued on 10/12/21
11/08/21     20205       Fleeson Gooing Coulson & Kitch     Ronald Beemiller garnished wages per                   5300-000                                    2,099.37    15,123.83
                                                            10/27/21 order in 2016-CV-001177
11/08/21     20206       Ron Beemiller                      Ref # WAGES (less garnished portion for Case 5300-000                                              6,298.10        8,825.73
                                                            no 16 CV 1177)
12/02/21                 Richard Burkhart                   Refund of final distribution.                          5300-000                                   -1,219.30    10,045.03
12/21/21     20127       Gage Lemons                        Distribution Check; RE: Claim #40 -1; Filed:           5300-000                                   -2,616.54    12,661.57
                                                            $4,003.89; Reference: WAGES.
                                                            Voided: check issued on 10/12/21
12/21/21     20147       Bruce Helmick                      Distribution Check; RE: Claim #122 -1; Filed:          5300-000                                   -3,440.02    16,101.59
                                                            $5,264.00; Reference: WAGES.
                                                            Stopped: check issued on 10/12/21
01/10/22     20207       JM Investment Trust                Distribution Ck; RE: Claim #122 -1; Filed:             5300-000                                    3,440.02    12,661.57
                                                            $5,264.00; Ref: Bruce Helmick Wages
01/10/22     20208       JM Investment Trust                Distribution Ck; RE: Claim #40 -1; Filed:              5300-000                                    2,616.54    10,045.03
                                                            $4,003.89; Ref: Gage Lemons wages
01/11/22     20209       Guaranteed Claim Funding, LLC      Distribution Ck; RE: Claim #78 -1; Filed:              5300-000                                    3,167.37        6,877.66

                                                                                                         Subtotals :                        $0.00             $1,903.12
{} Asset reference(s)
                                                Case 16-10759             Doc# 618              Filed 07/20/22                    Page 46 Printed:
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                                                    Cash Receipts And Disbursements Record
Case Number:        16-10759                                                                        Trustee:              Carl B. Davis (360110)
Case Name:          WB SERVICES, LLC                                                                Bank Name:            Metropolitan Commercial Bank
                                                                                                    Account:              ******3801 - Checking Account
Taxpayer ID #: **-***8342                                                                           Blanket Bond:         $24,700,000.00 (per case limit)
Period Ending: 06/20/22                                                                             Separate Bond: N/A

   1            2                            3                                     4                                                  5                     6             7

 Trans.     {Ref #} /                                                                                                             Receipts         Disbursements    Checking
  Date      Check #         Paid To / Received From               Description of Transaction                     T-Code              $                   $       Account Balance
                                                          $4,846.78; Ref: Brandon Maloy Wages.
01/11/22     20210       Guaranteed Claim Funding, LLC    Distribution Ck; RE: Claim #126 -1; Filed:            5300-000                                    1,219.30          5,658.36
                                                          $1,865.79; Ref: Richard Burkhart Wage
01/25/22     20134       Keith Baldwin                    Distribution Check; RE: Claim #69 -1; Filed:          5300-000                                    -3,672.67         9,331.03
                                                          $5,620.00; Reference: WAGES.
                                                          Voided: check issued on 10/12/21
01/28/22                 Brook Bird                       Refund of final distribution made in error.           5300-000                                    -2,979.62     12,310.65
01/28/22     20123       Curtis Dean                      Distribution Check; RE: Claim #29 -1; Filed:          5300-000                                    -2,874.16     15,184.81
                                                          $4,398.09; Reference: WAGES.
                                                          Voided: check issued on 10/12/21
01/28/22     20124       Joan Marie Taylor                Distribution Check; RE: Claim #31 -1; Filed:          5300-000                                    -2,531.71     17,716.52
                                                          $3,874.06; Reference: WAGES 0573.
                                                          Voided: check issued on 10/12/21
01/28/22     20125       Robert Gregory Taylor            Distribution Check; RE: Claim #32 -1; Filed:          5300-000                                    -3,059.54     20,776.06
                                                          $4,681.78; Reference: WAGES.
                                                          Voided: check issued on 10/12/21
01/28/22     20149       Dawna Eldringhoff                Distribution Check; RE: Claim #127 -1; Filed:         5300-000                                    -2,314.83     23,090.89
                                                          $3,542.20; Reference: WAGES.
                                                          Voided: check issued on 10/12/21
01/28/22     20156       Nathan Baker                     Distribution Check; RE: Claim #146D-2; Filed:         5300-000                                        -279.50   23,370.39
                                                          $427.71; Reference: 0787.
                                                          Voided: check issued on 10/12/21
01/28/22     20158       Rodney Beek                      Distribution Check; RE: Claim #146F-2; Filed:         5300-000                                         -34.47   23,404.86
                                                          $52.75; Reference: 5396.
                                                          Voided: check issued on 10/12/21
01/28/22     20160       Dean Camper                      Distribution Check; RE: Claim #146H-2; Filed:         5300-000                                        -221.72   23,626.58
                                                          $339.27; Reference: 7446.
                                                          Voided: check issued on 10/12/21
01/28/22     20173       Rossner Landsbaum                Distribution Check; RE: Claim #146V-2; Filed:         5300-000                                        -443.42   24,070.00
                                                          $678.54; Reference: 6490.
                                                          Voided: check issued on 10/12/21
01/28/22     20174       Hollie Lintz                     Distribution Check; RE: Claim #146W-2; Filed:         5300-000                                        -191.25   24,261.25
                                                          $292.64; Reference: 8781.
                                                          Voided: check issued on 10/12/21
01/28/22     20180       Dan Rueger                       Distribution Check; RE: Claim #146FF-2; Filed:        5300-000                                        -261.79   24,523.04
                                                          $400.60; Reference: 6930.
                                                          Voided: check issued on 10/12/21
01/28/22     20187       Matthew Vogel                    Distribution Check; RE: Claim #146PP-2; Filed: 5300-000                                                -93.16   24,616.20
                                                          $142.57; Reference: 4645.

                                                                                                        Subtotals :                       $0.00           $-17,738.54
{} Asset reference(s)
                                                 Case 16-10759         Doc# 618                Filed 07/20/22                   Page 47 Printed:
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                                                    Cash Receipts And Disbursements Record
Case Number:        16-10759                                                                      Trustee:            Carl B. Davis (360110)
Case Name:          WB SERVICES, LLC                                                              Bank Name:          Metropolitan Commercial Bank
                                                                                                  Account:            ******3801 - Checking Account
Taxpayer ID #: **-***8342                                                                         Blanket Bond:       $24,700,000.00 (per case limit)
Period Ending: 06/20/22                                                                           Separate Bond: N/A

   1            2                            3                                    4                                               5                     6             7

 Trans.     {Ref #} /                                                                                                         Receipts         Disbursements    Checking
  Date      Check #         Paid To / Received From               Description of Transaction                 T-Code              $                   $       Account Balance
                                                          Voided: check issued on 10/12/21
01/28/22     20188       Whit Walker                      Distribution Check; RE: Claim #146QQ-2;            5300-000                                        -68.94   24,685.14
                                                          Filed: $105.50; Reference: 7588.
                                                          Voided: check issued on 10/12/21
01/31/22                 Metropolitan Commercial Bank     Bank and Technology Services Fee                   2600-000                                        54.90    24,630.24
02/03/22                 Metropolitan Commercial Bank     Bank and Technology Services Fee                   2600-000                                        -54.90   24,685.14
                                                          Adjustment
02/03/22     20140       Andres Murillo                   Distribution Check; RE: Claim #97 -1; Filed:       5300-000                                   -2,595.71     27,280.85
                                                          $3,972.00; Reference: WAGES.
                                                          Stopped: check issued on 10/12/21
02/03/22     20146       Tim Livesay                      Distribution Check; RE: Claim #118 -1; Filed:      5300-000                                   -1,960.50     29,241.35
                                                          $3,000.00; Reference: WAGES.
                                                          Stopped: check issued on 10/12/21
02/03/22     20154       Brandon Awtrey                   Distribution Check; RE: Claim #146B-2; Filed:      5300-000                                       -190.84   29,432.19
                                                          $292.03; Reference: 6909.
                                                          Stopped: check issued on 10/12/21
02/03/22     20161       Tory Cooley                      Distribution Check; RE: Claim #146I-2; Filed:      5300-000                                       -214.24   29,646.43
                                                          $327.82; Reference: 7871.
                                                          Stopped: check issued on 10/12/21
02/03/22     20162       Juan Cruz                        Distribution Check; RE: Claim #146J-2; Filed:      5300-000                                        -31.62   29,678.05
                                                          $48.39; Reference: 2348.
                                                          Stopped: check issued on 10/12/21
02/03/22     20166       Bryce Gould                      Distribution Check; RE: Claim #146O-2; Filed:      5300-000                                       -114.48   29,792.53
                                                          $175.18; Reference: 7124.
                                                          Stopped: check issued on 10/12/21
02/03/22     20177       Mike Morris                      Distribution Check; RE: Claim #146AA-2; Filed: 5300-000                                           -321.34   30,113.87
                                                          $491.73; Reference: 2773.
                                                          Stopped: check issued on 10/12/21
02/03/22     20185       Joe Supik                        Distribution Check; RE: Claim #146LL-2; Filed:     5300-000                                        -40.61   30,154.48
                                                          $62.14; Reference: 7322.
                                                          Stopped: check issued on 10/12/21
02/03/22     20211       Joan Marie Taylor                Distribution Check; RE: Claim #31 -1; Filed:       5300-000                                    2,531.71     27,622.77
                                                          $3,874.06; Reference: WAGES 0573.
02/03/22     20212       Robert Gregory Taylor            Distribution Check; RE: Claim #32 -1; Filed:       5300-000                                    3,059.54     24,563.23
                                                          $4,681.78; Reference: WAGES.
02/03/22     20213       Guaranteed Claim Funding, LLC    Dist Ck; RE: Claim #91-1; Filed: $4,559.48;        5300-000                                    2,979.62     21,583.61
                                                          Reference: Brook Bird Wages.
02/24/22     20214       Dean Camper                      Distribution Check; RE: Claim #146H-2; Filed:      5300-000                                       221.72    21,361.89
                                                          $339.27; Reference: 7446.

                                                                                                   Subtotals :                        $0.00             $3,254.31
{} Asset reference(s)
                                                 Case 16-10759         Doc# 618              Filed 07/20/22                 Page 48 Printed:
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                                                    Cash Receipts And Disbursements Record
Case Number:        16-10759                                                                         Trustee:            Carl B. Davis (360110)
Case Name:          WB SERVICES, LLC                                                                 Bank Name:          Metropolitan Commercial Bank
                                                                                                     Account:            ******3801 - Checking Account
Taxpayer ID #: **-***8342                                                                            Blanket Bond:       $24,700,000.00 (per case limit)
Period Ending: 06/20/22                                                                              Separate Bond: N/A

   1            2                         3                                          4                                               5                     6            7

 Trans.     {Ref #} /                                                                                                            Receipts         Disbursements    Checking
  Date      Check #         Paid To / Received From                  Description of Transaction                 T-Code              $                   $       Account Balance
03/11/22     20215       Dawna Eldringhoff                   Distribution Check; RE: Claim #127 -1; Filed:      5300-000                                   2,314.83     19,047.06
                                                             $3,542.20; Reference: WAGES.
03/11/22     20216       Keith Baldwin                       Distribution Check; RE: Claim #69 -1; Filed:       5300-000                                   3,672.67     15,374.39
                                                             $5,620.00; Reference: WAGES.
03/11/22     20217       Andres Murillo                      Distribution Check; RE: Claim #97 -1; Filed:       5300-000                                   2,595.71     12,778.68
                                                             $3,972.00; Reference: WAGES.
                                                             Stopped on 05/12/22
03/11/22     20218       Tim Livesay                         Distribution Check; RE: Claim #118 -1; Filed:      5300-000                                   1,960.50     10,818.18
                                                             $3,000.00; Reference: WAGES.
                                                             Stopped on 05/12/22
03/11/22     20219       Brandon Awtrey                      Distribution Check; RE: Claim #146B-2; Filed:      5300-000                                       190.84   10,627.34
                                                             $292.03; Reference: 6909.
                                                             Stopped on 05/12/22
03/11/22     20220       Tory Cooley                         Distribution Check; RE: Claim #146I-2; Filed:      5300-000                                       214.24   10,413.10
                                                             $327.82; Reference: 7871.
                                                             Stopped on 05/12/22
03/11/22     20221       Juan Cruz                           Distribution Check; RE: Claim #146J-2; Filed:      5300-000                                        31.62   10,381.48
                                                             $48.39; Reference: 2348.
03/11/22     20222       Mike Morris                         Distribution Check; RE: Claim #146AA-2; Filed: 5300-000                                           321.34   10,060.14
                                                             $491.73; Reference: 2773.
                                                             Stopped on 05/12/22
03/11/22     20223       Joe Supik                           Distribution Check; RE: Claim #146LL-2; Filed:     5300-000                                        40.61   10,019.53
                                                             $62.14; Reference: 7322.
                                                             Stopped on 05/12/22
04/04/22     20224       Carl B. Davis                       Dividend paid 100.00% on $10,401.55,               2200-000                                        75.00       9,944.53
                                                             Trustee Expenses; Reference:
04/04/22     20225       INTERNAL REVENUE SVC                Dividend paid 52.72% on $1,023.36; Filed:          5800-000                                         2.81       9,941.72
                                                             $0.00 for FUTA
04/04/22     20226       KANSAS DEPARTMENT OF                Dividend paid 52.72% on $5,184.71; Filed:          5800-000                                        14.25       9,927.47
                         LABOR                               $0.00 for KS SUTA
04/04/22     20227       Kansas Department of Revenue        Distribution Check; RE: Claim #21P-1; Filed:       5800-000                                        69.85       9,857.62
                                                             $25,413.32; Reference: .
04/04/22     20228       Internal Revenue Service            Distribution Check; RE: Claim #57P-1; Filed:       5800-000                                   2,802.91         7,054.71
                                                             $1,019,721.21; Reference: .
04/04/22     20229       Iowa Department of Revenue          Distribution Check; RE: Claim #113P-1; Filed:      5800-000                                        22.21       7,032.50
                                                             $8,080.80; Reference: 0851 WITHHOLDING
                                                             6/30/15.
04/04/22     20230       Illinois Department of Employment   Distribution Check; RE: Claim #148 -1; Filed:      5800-000                                         8.15       7,024.35
                         Security                            $2,965.18; Reference: 8342.

                                                                                                      Subtotals :                        $0.00           $14,337.54
{} Asset reference(s)
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                                                   Cash Receipts And Disbursements Record
Case Number:        16-10759                                                                        Trustee:            Carl B. Davis (360110)
Case Name:          WB SERVICES, LLC                                                                Bank Name:          Metropolitan Commercial Bank
                                                                                                    Account:            ******3801 - Checking Account
Taxpayer ID #: **-***8342                                                                           Blanket Bond:       $24,700,000.00 (per case limit)
Period Ending: 06/20/22                                                                             Separate Bond: N/A

   1            2                         3                                         4                                               5                     6             7

 Trans.     {Ref #} /                                                                                                           Receipts         Disbursements    Checking
  Date      Check #         Paid To / Received From                 Description of Transaction                 T-Code              $                   $       Account Balance
04/04/22     20231       Ohio Department of Taxation        Distribution Check; RE: Claim #151P-1; Filed:      5800-000                                         5.50        7,018.85
                                                            $2,000.50; Reference: 2016 TAXES.
04/04/22     20232       IL Dept of Revenue Bankruptcy      Distribution Check; RE: Claim #158P-1; Filed:      5800-000                                         5.13        7,013.72
                         Section                            $1,864.78; Reference: 8342 WITHHOLDING.
04/04/22     20233       Wisconsin Department of Revenue    Dividend paid 52.72% on $931.19; Claim# 47         5800-000                                         2.56        7,011.16
                                                            -1; Filed: $931.19; Reference: 7265 / 8342
04/04/22     20234       INTERNAL REVENUE SERVICE           Combined Check for Claims#et_al.                                                                   40.38        6,970.78
                                                               Dividend paid 52.72%                  0.32      5800-000                                                     6,970.78
                                                               on $115.53; Claim# ;
                                                               Filed: $0.00
                                                               Dividend paid 52.72%                  1.36      5800-000                                                     6,970.78
                                                               on $494.00; Claim# ;
                                                               Filed: $0.00
                                                               Dividend paid 52.72%                31.37       5800-000                                                     6,970.78
                                                               on $11,411.59; Claim# ;
                                                               Filed: $0.00
                                                               Dividend paid 52.72%                  7.33      5800-000                                                     6,970.78
                                                               on $2,668.85; Claim# ;
                                                               Filed: $0.00
04/04/22     20235       TDOR co Attorney General BK Unit   Combined Check for Claims#161P-1,162 -1                                                             2.01        6,968.77
                                                               Dividend paid 52.72%                  1.54      5800-000                                                     6,968.77
                                                               on $561.70; Claim#
                                                               161P-1; Filed: $561.70
                                                               Dividend paid 52.72%                  0.47      5800-000                                                     6,968.77
                                                               on $169.17; Claim# 162
                                                               -1; Filed: $169.17
04/04/22     20236       Office of the County Counselor     Dividend paid 52.72% on $52.91; Claim# 88          5800-000                                         0.14        6,968.63
                                                            -1; Filed: $52.91; Reference: 8342
05/12/22     20217       Andres Murillo                     Distribution Check; RE: Claim #97 -1; Filed:       5300-000                                   -2,595.71         9,564.34
                                                            $3,972.00; Reference: WAGES.
                                                            Stopped: check issued on 03/11/22
05/12/22     20218       Tim Livesay                        Distribution Check; RE: Claim #118 -1; Filed:      5300-000                                   -1,960.50     11,524.84
                                                            $3,000.00; Reference: WAGES.
                                                            Stopped: check issued on 03/11/22
05/12/22     20219       Brandon Awtrey                     Distribution Check; RE: Claim #146B-2; Filed:      5300-000                                       -190.84   11,715.68
                                                            $292.03; Reference: 6909.
                                                            Stopped: check issued on 03/11/22
05/12/22     20220       Tory Cooley                        Distribution Check; RE: Claim #146I-2; Filed:      5300-000                                       -214.24   11,929.92
                                                            $327.82; Reference: 7871.

                                                                                                     Subtotals :                        $0.00           $-4,905.57
{} Asset reference(s)
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                                                 Cash Receipts And Disbursements Record
Case Number:        16-10759                                                                   Trustee:            Carl B. Davis (360110)
Case Name:          WB SERVICES, LLC                                                           Bank Name:          Metropolitan Commercial Bank
                                                                                               Account:            ******3801 - Checking Account
Taxpayer ID #: **-***8342                                                                      Blanket Bond:       $24,700,000.00 (per case limit)
Period Ending: 06/20/22                                                                        Separate Bond: N/A

   1            2                         3                                    4                                               5                     6             7

 Trans.     {Ref #} /                                                                                                      Receipts         Disbursements    Checking
  Date      Check #         Paid To / Received From              Description of Transaction               T-Code              $                   $       Account Balance
                                                       Stopped: check issued on 03/11/22
05/12/22     20222       Mike Morris                   Distribution Check; RE: Claim #146AA-2; Filed: 5300-000                                           -321.34   12,251.26
                                                       $491.73; Reference: 2773.
                                                       Stopped: check issued on 03/11/22
05/12/22     20223       Joe Supik                     Distribution Check; RE: Claim #146LL-2; Filed:     5300-000                                        -40.61   12,291.87
                                                       $62.14; Reference: 7322.
                                                       Stopped: check issued on 03/11/22
05/13/22     20237       U.S. Bankruptcy Court         Unclaimed funds                                                                               12,291.87            0.00
                                                          Unclaimed funds: Ref #           2,607.46       5300-001                                                        0.00
                                                          WAGES
                                                          Unclaimed funds: Ref #           2,874.16       5300-001                                                        0.00
                                                          WAGES
                                                          Unclaimed funds: Ref #              279.50      5300-001                                                        0.00
                                                          0787
                                                          Unclaimed funds: Ref #               34.47      5300-001                                                        0.00
                                                          5396
                                                          Unclaimed funds: Ref #              114.48      5300-001                                                        0.00
                                                          7124
                                                          Unclaimed funds: Ref #              443.42      5300-001                                                        0.00
                                                          6490
                                                          Unclaimed funds: Ref #              191.25      5300-001                                                        0.00
                                                          8781
                                                          Unclaimed funds: Ref #              261.79      5300-001                                                        0.00
                                                          6930
                                                          Unclaimed funds: Ref #               93.16      5300-001                                                        0.00
                                                          4645
                                                          Unclaimed funds: Ref #               68.94      5300-001                                                        0.00
                                                          7588
                                                          Unclaimed funds: Ref #           2,595.71       5300-001                                                        0.00
                                                          WAGES
                                                          Unclaimed funds: Ref #           1,960.50       5300-001                                                        0.00
                                                          WAGES
                                                          Unclaimed funds: Ref #              190.84      5300-001                                                        0.00
                                                          6909
                                                          Unclaimed funds: Ref #              214.24      5300-001                                                        0.00
                                                          7871
                                                          Unclaimed funds: Ref #              321.34      5300-001                                                        0.00
                                                          2773
                                                          Unclaimed funds: Ref #               40.61      5300-001                                                        0.00
                                                                                                Subtotals :                        $0.00           $11,929.92
{} Asset reference(s)
                                              Case 16-10759          Doc# 618            Filed 07/20/22                  Page 51 Printed:
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                                               Cash Receipts And Disbursements Record
Case Number:        16-10759                                                                    Trustee:            Carl B. Davis (360110)
Case Name:          WB SERVICES, LLC                                                            Bank Name:          Metropolitan Commercial Bank
                                                                                                Account:            ******3801 - Checking Account
Taxpayer ID #: **-***8342                                                                       Blanket Bond:       $24,700,000.00 (per case limit)
Period Ending: 06/20/22                                                                         Separate Bond: N/A

   1            2                       3                                        4                                              5                     6           7

 Trans.     {Ref #} /                                                                                                       Receipts         Disbursements    Checking
  Date      Check #        Paid To / Received From                 Description of Transaction              T-Code              $                   $       Account Balance
                                                            7322

                                                                               ACCOUNT TOTALS                                 839,282.06            839,282.06          $0.00
                                                                                      Less: Bank Transfers                    839,282.06                   0.00
                                                                               Subtotal                                              0.00           839,282.06
                                                                                      Less: Payments to Debtors                                            0.00
                                                                               NET Receipts / Disbursements                         $0.00       $839,282.06

                             Net Receipts :      1,109,813.92
                   Plus Gross Adjustments :         18,648.98                                                                     Net              Net            Account
        Less Other Noncompensable Items :           59,763.33                  TOTAL - ALL ACCOUNTS                             Receipts      Disbursements       Balances
                                              ————————
                               Net Estate :     $1,068,699.57                  Checking # ******9166                        1,108,591.48            254,434.32           0.00
                                                                               Checking # ******8455                             1,222.44             16,097.54          0.00
                                                                               Checking # ******3801                                 0.00           839,282.06           0.00

                                                                                                                           $1,109,813.92       $1,109,813.92            $0.00




{} Asset reference(s)
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